                            Case 1:08-cv-00991-PLM ECF No. 417 filed 07/24/18 PageID.6712 Page 1 of 22



                                                                hE/d^dd^/^dZ/dKhZd
                                                                 t^dZE/^dZ/dK&D/,/'E͕
                                                                      ^Khd,ZE/s/^/KE

                                
                                ZŽďĞƌƚĂƌůƐŽŶ͕WĞƌƐŽŶĂůZĞƉƌĞƐĞŶƚĂƚŝǀĞ
                               ŽĨƚŚĞƐƚĂƚĞŽĨƌĂŝŐĂƌůƐŽŶ͕
                                

                                                  WůĂŝŶƚŝĨĨ͕
                               
                                ǀ                                                        &ŝůĞEŽ͘ϭ͗ϬϴͲsͲϵϵϭ
                                                                                        ,ŽŶ͘WĂƵů>͘DĂůŽŶĞǇ
                                ^,Z/&&^Kdd&t/E^͕

                                ĂŶĚ'ZEdZsZ^KhEdz͖
                               
                                                  ĞĨĞŶĚĂŶƚƐ͘
                               ͲͲͲͲͲͲͲͲͲͲͲͲͲͲͲͲͲͲͲͲͲͲͲͲͲͲͲͲͲͲͲͲͲͲͲͲͲͲͲͲͲͲͲͲͲͲͲͲͲͲͲͲͲͲͲͲͲͲͲͲͲ
                                'ƌĂŶƚt͘WĂƌƐŽŶƐ ;WϯϴϮϭϰͿ                                  ŚƌŝƐƚŽƉŚĞƌ<͘ŽŽŬĞ;WϯϱϬϯϰͿ

                                WĂƌƐŽŶƐ>Ăǁ&ŝƌŵ͕W>                                      EĞƵŵĂŶŶ>Ăǁ'ƌŽƵƉ
                               ƚƚŽƌŶĞǇĨŽƌWůĂŝŶƚŝĨĨ                                     ƚƚǇƐĨŽƌĞĨƐ&ĞǁŝŶƐ͕ŽƵŶƚǇ
                                ϱϮϬ^ŽƵƚŚhŶŝŽŶ^ƚƌĞĞƚ                                      ϯϬϬ&ƌŽŶƚ^ƚƌĞĞƚ͕^ƚĞ͘ϰϲϬ
                               dƌĂǀĞƌƐĞŝƚǇ͕D/ϰϵϲϴϱͲϭϳϭϬ                                dƌĂǀĞƌƐĞŝƚǇ͕D/ϰϵϲϴϰ

                                ;ϮϯϭͿϵϮϵͲϯϭϭϯ                                             ;ϮϯϭͿϮϮϭͲϬϬϱϮ
                                ͲͲͲͲͲͲͲͲͲͲͲͲͲͲͲͲͲͲͲͲͲͲͲͲͲͲͲͲͲͲͲͲͲͲͲͲͲͲͲͲͲͲͲͲͲͲͲͲͲͲͲͲͲͲͲͲͲͲͲͲͲ
                               
                                                                               &/E>WZͲdZ/>KZZ

                                
                                        ĨŝŶĂůƉƌĞͲƚƌŝĂůĐŽŶĨĞƌĞŶĐĞǁĂƐŚĞůĚŽŶ:ƵůǇϮϯ͕ϮϬϭϴ͕ŝŶ<ĂůĂŵĂǌŽŽ͕DŝĐŚŝŐĂŶ͘
                                ƉƉĞĂƌŝŶŐĨŽƌƚŚĞƉĂƌƚŝĞƐǁĞƌĞ͗
                               
                                'ƌĂŶƚt͘WĂƌƐŽŶƐ͕ƚƚŽƌŶĞǇĨŽƌWůĂŝŶƚŝĨĨ

                                ŚƌŝƐƚŽƉŚĞƌŽŽŬĞ͕ƚƚŽƌŶĞǇĨŽƌĞĨƐ&ĞǁŝŶƐ͕ŽƵŶƚǇ
                               
                                         ϭ͘       ǆŚŝďŝƚƐ͗dŚĞĨŽůůŽǁŝŶŐĞǆŚŝďŝƚƐǁŝůůďĞŽĨĨĞƌĞĚďǇWůĂŝŶƚŝĨĨĂŶĚĞĨĞŶĚĂŶƚƐ͗
                               
                                WůĂŝŶƚŝĨĨ͛ƐWƌŽƉŽƐĞĚǆŚŝďŝƚƐ͗΀ƵƐĞŶƵŵďĞƌƐ΁

                               
        Parsons
      LawFirm
    
    /$:2)),&(6

    
   )D[
    
    68QLRQ6WUHHW
   32%R[
    7UDYHUVH&LW\0,
                
               
                 




                        Case 1:08-cv-00991-PLM ECF No. 417 filed 07/24/18 PageID.6713 Page 2 of 22



                            EK         W                                ^Z/Wd/KEK&y,//d
                                       y,//d
                                        EK
                              ϭ                                        ĨĨŝĚĂǀŝƚŽĨDŝĐŚĂĞůtĂůƚŽŶ
                               Ϯ                              ĂƌůƐŽŶDƵŶƐŽŶŝƐĐŚĂƌŐĞ^ƵŵŵĂƌǇϬϴͬϮϬͬϬϳ
                              ϯ                                                   ĞůĞƚĞĚ
                               ϰ                               tĞůĨĂƌĞŚĞĐŬZĞƉŽƌƚϭϭͬϬϰͬϬϳďǇ,ĂŵŝůƚŽŶ
                    
                               ϱ                             ĞŶƚƌĂůŝƐƉĂƚĐŚdƌĂŶƐĐƌŝƉƚĂŶĚƵĚŝŽŽĨ/ŶĐŝĚĞŶƚ
                              ϲ                                       ĞƚĂŝůĂůůĨŽƌ^ĞƌǀŝĐĞZĞƉŽƌƚƐ
                               ϳ                      :ĂƐŽŶ,ĂŵŝůƚŽŶĞƉǆŚϭ;WƌŝŽƌŝŶĐŝĚĞŶƚƌĞƉŽƌƚĂŶĚďƵůůĞƚŝŶͿ
                    
                               ϴ                                                   ĞůĞƚĞĚ
                              ϵ                                        &ĞǁŝŶƐŶƐǁĞƌƚŽŽŵƉůĂŝŶƚ
                              ϭϬ                                     ƌǌĞǁŝĞĐŬŝŶƐǁĞƌƚŽŽŵƉůĂŝŶƚ
                             ϭϭ                          &ĞǁŝŶƐWŽůŝĐǇʹĂƌƌŝĐĂĚĞĚ^ƵďũĞĐƚͬ,ŽƐƚĂŐĞdĂŬĞƌƐ
                    
                              ϭϮ                                           ,ŽƵƐĞĂŵĂŐĞWŚŽƚŽƐ
                              ϭϯ                                        DK>^tĂƌƌĂŶƚ^ƚĂŶĚĂƌĚƐ
                             ϭϰ                                       EDDDd&tĂƌƌĂŶƚ^ƚĂŶĚĂƌĚƐ
                              ϭϱ                                       ^ƵŶͬDŽŽŶĂƚĂĨŽƌϭϭͬϬϭͬϬϳ
                    
                             ϭϲĂͲ                ^Őƚ͘,ĂƌƌŝƐ͕DŝĐŚŝŐĂŶ^ƚĂƚĞWŽůŝĐĞ/ŶǀĞƐƚŝŐĂƚŝŽŶZĞƉŽƌƚƐĂŶĚ
                            ϭϲǌǌ                              ^ƵƉƉůĞŵĞŶƚƐŽĨ/ŶĐŝĚĞŶƚϬϳϭͲϬϬϬϮϵϳϵͲ;Ϳ͕WŚŽƚŽƐĂŶĚ
                                                                        /ŶƚĞƌǀŝĞǁƐ͕ŝĂŐƌĂŵƐ͕ƌĂǁŝŶŐƐ
                             ϭϳ                                 :ĂĐŬŝĞ^ŵŝƚŚϵͲϭͲϭĐĂůůƐƚƌĂŶƐĐƌŝƉƚͬĂƵĚŝŽ
                    
                             ϭϴĂ͕                                ƌĂŝŐĂƌůƐŽŶϵͲϭͲϭĐĂůůƐƚƌĂŶƐĐƌŝƉƚͬĂƵĚŝŽ
                             ď͕Đ
                             ϭϵ                              ZŽďĞƌƚĂƌůƐŽŶϵͲϭͲϭĐĂůůƐƚƌĂŶƐĐƌŝƉƚͬĂƵĚŝŽ
                              ϮϬ                                    ƌŶĞƐƚƵƌǁĞůů͛ƐsĂŶĚZĞƉŽƌƚ
                    
                              Ϯϭ                         ŶŶŚĂŵďĞƌůĂŝŶǆƉĞƌƚZĞƉŽƌƚ͕WŚŽƚŽƐĂŶĚŝĂŐƌĂŵƐ
                             ϮϮ                                    ƌ͘ĂŶŝĞůDĐŽǇǆƉĞƌƚZĞƉŽƌƚ
                              Ϯϯ                                   ƌ͘'ĞƌĂůĚ^ŚŝĞŶĞƌǆƉĞƌƚZĞƉŽƌƚ
                             Ϯϰ                           E͘D/DƵƚƵĂůŝĚZĞĐŝƉƌŽĐĂů>ĂǁŶĨŐƌĞĞŵĞŶƚ
                             Ϯϱ                                           hƐĞŽĨ&ŽƌĐĞWŽůŝĐǇ
                              Ϯϲ                                ƌǌĞǁŝĞĐŬŝ/ŶƚĞƌǀŝĞǁĨƌŽŵD^WZĞƉŽƌƚ
                             Ϯϳ                           ĨƚĞƌĐƚŝŽŶZĞƉŽƌƚďǇ^Őƚ͘ƌǌĞǁŝĞĐŬŝͬdŝŵĞ>ŝŶĞ
                             Ϯϴ                                     ƌŝƚŝĐĂů/ŶĐŝĚĞŶƚZĞƉŽƌƚWŽůŝĐǇ
         
   Parsons                   Ϯϵ                                   ,ŝŐŚZŝƐŬtĂƌƌĂŶƚWŽůŝĐǇŽĨ'd^
LawFirm
                             ϯϬ                                                  ĞůĞƚĞĚ
                          ϯϭ                                        DĐƵůŝĨĨ^ĐĞŶĞŝĂŐƌĂŵ
/$:2)),&(6  

                              ϯϮ                                        ,ŝůůďŽƌŶ^ĐĞŶĞŝĂŐƌĂŵ

                             ϯϯ                                  ^ŐƚǇůŝŶŐ/ŶĐŝĚĞŶƚEŽƚĞƐͬdŝŵĞ>ŝŶĞ
)D[
                             ϯϰ                                       ĂƌůƐŽŶ,ŽƵƐĞZĞƉĂŝƌŝůůƐ
                    
68QLRQ6WUHHW
                              ϯϱ                                ĞĨ&ĞǁŝŶƐZĞƐƉƚŽŝƐĐĚĂƚĞĚϬϭͬϬϮͬϬϵ
32%R[
7UDYHUVH&LW\0,       ϯϲ                    ůůD^WWŚŽƚŽƐŽĨ/ŶƚĞƌŝŽƌŽĨ,ŽŵĞ;ĚĞůĞƚĞĚĞĂƚŚƉŚŽƚŽŐƌĂƉŚƐͿ
         
                            ϯϳ                                                  ĞůĞƚĞĚ
                             ϯϴ                               'ĂƌǇsĂŶŶ͕^t͕ůĞƚƚĞƌĚĂƚĞĚϭϭͬϭϱͬϬϳ
                                                                              
                    
                        Case 1:08-cv-00991-PLM ECF No. 417 filed 07/24/18 PageID.6714 Page 3 of 22



                                ϯϵ                  &ĂŵŝůǇWŚŽƚŽƐŽĨĞĐĞĚĞŶƚWƌŽĚƵĐĞĚĂƚĞƉŽƐŝƚŝŽŶ
                                 ϰϬ                             WŽƐƚĞƌĞƉǆŚϭʹƌǌǁŝĞĐŬŝ
                    
                                 ϰϭ                                 dƌĂǀŝƐŚĞůůŝƐŝĂŐƌĂŵƐ
                                ϰϮ                              dŽǆŝĐŽůŽŐǇZĞƉŽƌƚƐDƵŶƐŽŶ
                                 ϰϯ                     &K/ZĞƐƉŽŶƐĞƚŽWůĂŝŶƚŝĨĨϬϱͬϬϮͬϬϴĨƌŽŵdW
                                ϰϰ                                         ĞůĞƚĞĚ
                    
                                 ϰϱ                 ϬϱͬϬϮͬϬϴ&K/ƌĞƐƉŽŶƐĞĨƌŽŵĂƉƚ^ƚĞƉŚĞŶDŽƌŐĂŶ
                                 ϰϲ                   :ƵŶĞϮϴ͕ϮϬϬϲDƵƚƵĂůŝĚZĞĐ>ĂǁŶĨŐƌĞĞŵĞŶƚ
                                ϰϳ                                 ,ĂƌŽůĚĂƌƌĞƉ͘ǆŚϭ
                                 ϰϴ                      ƌǌĞǁŝĞĐŬŝĞƉǆŚϮ;ĂŝůǇĐƚŝǀŝƚǇZĞƉŽƌƚͿ
                    
                                 ϰϵ                      ƌǌĞǁŝĞĐŬŝĞƉǆŚϯ;ĂŝůǇĐƚŝǀŝƚǇZĞƉŽƌƚͿ
                                ϱϬ                       ƌǌĞǁŝĞĐŬŝĞƉǆŚϰ;ĨƚĞƌĐƚŝŽŶZĞƉŽƌƚͿ
                                 ϱϭ                 ƌǌĞǁŝĞĐŬŝĞƉ;^ĞĐŽŶĚͿǆŚϮ;ĨƚĞƌĐƚŝŽŶZĞƉŽƌƚͿ
                                ϱϮ                ƌǌĞǁŝĞĐŬŝĞƉ;^ĞĐŽŶĚͿǆŚϯ;ϭϭͬϭϬͬϬϳ^ƚĂƚĞŵĞŶƚͿ
                                ϱϯ                                ƌǌĞǁŝĞĐŬŝǆŚϱ;EŽƚĞƐͿ
                                 ϱϰ                    &ĞǁŝŶƐĞƉ;ϮͬϮϱͬϬϵͿǆŚϮ;DƵƚƵĂůŐƌĞĞŵĞŶƚͿ
                                ϱϱ                       &ĞǁŝŶƐĞƉ;ϮͬϮϱͬϬϵͿǆŚϯ;ZdWŽůŝĐŝĞƐͿ
                                 ϱϲ        &ĞǁŝŶƐĞƉ;ϭϮͬϭϱͬϬϵͿǆŚϭ;ĞƚĂŝůĂůůĨŽƌ^ĞƌǀŝĐĞͿ
                    
                                 ϱϳ        &ĞǁŝŶƐĞƉ;ϭϮͬϭϱͬϬϵͿǆŚϰ;^ŚĞƌŝĨĨĞƉƚ͘WŽůŝĐŝĞƐĨŽƌZdͿ
                                ϱϴ                                         ĞůĞƚĞĚ
                                 ϱϵ                                         ĞůĞƚĞĚ
                    
                                 ϲϬ        &ĞǁŝŶƐĞƉ;ϭϮͬϭϱͬϬϵͿǆŚϳ;ZddĞĂŵƉŽůŝĐǇͿ
                                ϲϭ        &ĞǁŝŶƐĞƉ;ϭϮͬϭϱͬϬϵͿǆŚϴ;ZdĂƌƌŝĐĂĚĞĚ^ƵďũĞĐƚƉŽůŝĐǇͿ
                                 ϲϮ        &ĞǁŝŶƐĞƉ;ϭϮͬϭϱͬϬϵͿǆŚϵ;hƐĞĂŶĚƐƐŝŐŶŵĞŶƚŽĨƚŚĞZdƉŽůŝĐǇͿ
                                ϲϯ                               :ĂƐŽŶ,ĂŵŝůƚŽŶĞƉǆŚϯ
                    
                                 ϲϰ                               :ĂƐŽŶ,ĂŵŝůƚŽŶĞƉǆŚϰ
                                 ϲϱ                                         ĞůĞƚĞĚ
                                ϲϲ                                         ĞůĞƚĞĚ
                                 ϲϳ                                         ĞůĞƚĞĚ
                    
                                 ϲϴ                                   ,ŝůůďŽƌŶĞƉǆŚϭ
                                ϲϵ                             ,ŝůůďŽƌŶǆŚϳ;WŚŽƚŽŽĨD^WͿ
                                 ϳϬ                       ĞƉƵƚǇ^ŝůůĞƌƐĞƉǆŚϭ;/ŶĐŝĚĞŶƚZĞƉŽƌƚͿ
                                ϳϭ               ŚŝĞĨDŝĐŚĂĞůtĂƌƌĞŶ͕dWĞƉǆŚϯ;ZdŐƌĞĞŵĞŶƚͿ
             
                                ϳϮ                     hŶĚĞƌƐŚĞƌŝĨĨůŐĞƌĞƉǆŚϭ;/ŶĐŝĚĞŶƚƌĞƉŽƌƚƐͿ
   Parsons                      ϳϯ                  hŶĚĞƌƐŚĞƌŝĨĨůŐĞƌĞƉǆŚϰ;ϵϭϭĐĂůůƚƌĂŶƐĐƌŝƉƚƐͿ
LawFirm
                                ϳϰ                             hŶĚĞƌƐŚĞƌŝĨĨůŐĞƌĞƉǆŚϳ
                             ϳϱ                             hŶĚĞƌƐŚĞƌŝĨĨůŐĞƌĞƉǆŚϭϰ
/$:2)),&(6  
                           
        
                    
)D[
                           
                    
68QLRQ6WUHHW
                            
32%R[
7UDYHUVH&LW\0,
                     
                            
 
                          
                           

                                                                    
                    
                        Case 1:08-cv-00991-PLM ECF No. 417 filed 07/24/18 PageID.6715 Page 4 of 22



                           KďũĞĐƚŝŽŶƐƚŽWůĂŝŶƚŝĨĨ͛ƐǆŚŝďŝƚƐďǇĞĨĞŶĚĂŶƚ'ƌĂŶĚdƌĂǀĞƌƐĞŽƵŶƚǇ
                            
                              ϭ͘ EŽƚƌĞůĞǀĂŶƚƚŽĂŶǇŵĂƚĞƌŝĂůŝƐƐƵĞŝŶƚŚĞĐĂƐĞ
                    
                               Ϯ͘ ͞      ͟͞
                               ϯ͘ EŽŝĚĞĂǁŚĂƚƚŚŝƐŵĞĂŶƐ
                              ϰ͘ EŽƚƌĞůĞǀĂŶƚ
                               ϱ͘ EŽŽďũĞĐƚŝŽŶƉƌŽǀŝĚĞĚŝƚǁĂƐƚŚĞƌĞĐŽƌĚŝŶŐĞŶƚĞƌĞĚŝŶƚŚĞĨŝƌƐƚĐĂƐĞ
                    
                               ϲ͘ /ĚŽŶ͛ƚŬŶŽǁǁŚĂƚƚŚŝƐŝƐ͘
                              ϳ͘ EŽƚƌĞůĞǀĂŶƚ͘
                               ϴ͘ ŶͬĂ
                              ϵ͘ EŽƚƌĞůĞǀĂŶƚ͕'ƌĂŶĚdƌĂǀĞƌƐĞŽƵŶƚǇŝƐƚŚĞŽŶůǇƌĞŵĂŝŶŝŶŐĚĞĨĞŶĚĂŶƚ
                               ϭϬ͘EŽƚƌĞůĞǀĂŶƚ͘
                    
                               ϭϭ͘&ĞǁŝŶƐŝƐŶŽƚĂĚĞĨĞŶĚĂŶƚ͘'ƌĂŶĚdƌĂǀĞƌƐĞ^ŚĞƌŝĨĨĞƉĂƌƚŵĞŶƚƉŽůŝĐǇǁŽƵůĚďĞƌĞůĞǀĂŶƚ
                                  ĂŶĚĂĚŵŝƐƐŝďůĞ͘
                               ϭϮ͘/ǁŽƵůĚŶĞĞĚƚŽƐĞĞƚŚĞƐĞďƵƚůŝŬĞůǇŶŽƚŽďũĞĐƚŝŽŶĂďůĞ͘
                              ϭϯ͘hŶŬŶŽǁŶǁŚĂƚƚŚŝƐŝƐƌĞĨĞƌƌŝŶŐƚŽ
                               ϭϰ͘hŶŬŶŽǁŶǁŚĂƚƚŚŝƐŝƐƌĞĨĞƌƌŝŶŐƚŽ
                    
                               ϭϱ͘EŽƚƌĞůĞǀĂŶƚ
                              ϭϲ͘,ĞĂƌƐĂǇ͕ŶŽƚƌĞůĞǀĂŶƚ
                               ϭϳ͘EŽŽďũĞĐƚŝŽŶŝĨŝƚǁĂƐƚŚĞƌĞĐŽƌĚŝŶŐĂĚŵŝƚƚĞĚĂƚƚŚĞĨŝƌƐƚƚƌŝĂů
                              ϭϴ͘^ĂŵĞĂƐϭϳ
                    
                               ϭϵ͘^ĂŵĞĂƐϭϳ
                               ϮϬ͘,ĞĂƌƐĂǇ
                              Ϯϭ͘EŽƚƌĞůĞǀĂŶƚ͕ŝĨĚŝƐĐƵƐƐĞĚĞĨĞŶĚĂŶƚǁŝůůŵŽǀĞĨŽƌĂŵŝƐƚƌŝĂů͘
                               ϮϮ͘,ĞĂƌƐĂǇ͕EŽƚƌĞůĞǀĂŶƚ
                    
                               Ϯϯ͘,ĞĂƌƐĂǇ͕ŶŽƚƌĞůĞǀĂŶƚ
                              Ϯϰ͘EŽƚZĞůĞǀĂŶƚ
                               Ϯϱ͘EŽƚƌĞůĞǀĂŶƚĂŶĚŝĨĚŝƐĐƵƐƐĞĚĞĨĞŶĚĂŶƚǁŝůůŵŽǀĞĨŽƌĂŵŝƐƚƌŝĂů͘
                              Ϯϲ͘,ĞĂƌƐĂǇ
                               Ϯϳ͘,ĞĂƌƐĂǇ
                    
                               Ϯϴ͘,ĞĂƌƐĂǇ
                              Ϯϵ͘,ĞĂƌƐĂǇ͕ZĞůĞǀĂŶĐĞ
                               ϯϬ͘Eͬ
                              ϯϭ͘EŽƚƌĞůĞǀĂŶƚ͕ŵŽƌĞƉƌĞũƵĚŝĐŝĂůƚŚĂŶƉƌŽďĂƚŝǀĞ
                              ϯϮ͘^ĂŵĞĂƐϯϭ͕ĂŶǇĚŝĂŐƌĂŵĚĞƉŝĐƚŝŶŐƚŚĞƐŚŽŽƚŝŶŐŝŶĐŝĚĞŶƚŝƐŽƵƚƐŝĚĞƚŚĞƐĐŽƉĞŽĨƚŚŝƐƚƌŝĂů
         
   Parsons                    ϯϯ͘,ĞĂƌƐĂǇ
LawFirm
                              ϯϰ͘,ĞĂƌƐĂǇ
                           ϯϱ͘'ƌĂŶĚdƌĂǀĞƌƐĞŽƵŶƚǇŝƐƚŚĞŽŶůǇĚĞĨĞŶĚĂŶƚ͘^ŽŵĞĂŶƐǁĞƌƐŵĂǇďĞƌĞůĞǀĂŶƚŝĨƉƌŽƉĞƌ
/$:2)),&(6                ĨŽƵŶĚĂƚŝŽŶůĂŝĚ


                    
                               ϯϲ͘EŽƚ ƌĞůĞǀĂŶƚ͘  KƵƚƐŝĚĞ ƚŚĞ ƐĐŽƉĞ ŽĨ ƚŚŝƐ ƚƌŝĂů͘  DŽƌĞ ƉƌĞũƵĚŝĐŝĂů ƚŚĂŶ ƉƌŽďĂƚŝǀĞ͘  ŶǇ
)D[

                                   ƉŚŽƚŽƐƚŚĂƚƐŚŽǁƚŚĞĚĞĐĞĚĞŶƚǁŝůůĐĂƵƐĞĞĨĞŶĚĂŶƚƚŽŵŽǀĞĨŽƌĂŵŝƐƚƌŝĂů͘
                    
68QLRQ6WUHHW      ϯϳ͘Eͬ
32%R[
7UDYHUVH&LW\0,        ϯϴ͘,ĞĂƌƐĂǇ͕ƌĞůĞǀĂŶĐĞ͘
                 ϯϵ͘,ĞĂƌƐĂǇ͕ŶŽƚƌĞůĞǀĂŶƚ͕ŽƵƚƐŝĚĞƚŚĞƐĐŽƉĞŽĨƚŚŝƐƚƌŝĂů͘
            
                              ϰϬ͘hŶŬŶŽǁŶǁŚĂƚƚŚŝƐŝƐƌĞĨĞƌƌŝŶŐƚŽ͘
                               ϰϭ͘^ĂŵĞĂƐϯϲ͘
                                                                                
                    
                        Case 1:08-cv-00991-PLM ECF No. 417 filed 07/24/18 PageID.6716 Page 5 of 22



                               ϰϮ͘^ĂŵĞĂƐϯϲ͘
                                ϰϯ͘EŽƚƌĞůĞǀĂŶƚŽƌŵĂƚĞƌŝĂů͘KƵƚƐŝĚĞƚŚĞƐĐŽƉĞŽĨƚŚŝƐƚƌŝĂů͘
                               ϰϰ͘Eͬ
                    
                                ϰϱ͘EŽƚƌĞůĞǀĂŶƚŽƌŵĂƚĞƌŝĂů͘
                                ϰϲ͘EŽƌƌĞůĞǀĂŶƚŽƌŵĂƚĞƌŝĂů
                               ϰϳ͘,ĞĂƌƐĂǇ͕ƌĞůĞǀĂŶĐĞ
                                ϰϴ͘,ĞĂƌƐĂǇ
                    
                                ϰϵ͘,ĞĂƌƐĂǇ
                               ϱϬ͘,ĞĂƌƐĂǇ͕ŝĨĂĚŵŝƚƚĞĚůŝŬĞůǇŶĞĞĚƐƚŽďĞƌĞĚĂĐƚĞĚƚŽƉƵƌŐĞĂŶǇƌĞĨĞƌĞŶĐĞƚŽƚŚĞƐŚŽŽƚŝŶŐ
                                ϱϭ͘hŶŬŶŽǁŶǁŚĂƚŝƐƌĞĨĞƌƌĞĚƚŽŚĞƌĞ͘
                               ϱϮ͘,ĞĂƌƐĂǇ
                                ϱϯ͘,ĞĂƌƐĂǇ
                    
                                ϱϰ͘EŽƚƌĞůĞǀĂŶƚ
                               ϱϱ͘hŶĐĞƌƚĂŝŶǁŚĂƚŝƐƌĞĨĞƌƌĞĚƚŽŚĞƌĞ͘KŶůǇƚŚĞďĂƌƌŝĐĂĚĞĚŐƵŶŵĂŶͬƐƚĂŶĚŽĨĨƉŽůŝĐǇǁŽƵůĚ
                                    ďĞƌĞůĞǀĂŶƚ͘
                               ϱϲ͘,ĞĂƌƐĂǇ͕ƌĞůĞǀĂŶĐĞ
                                ϱϳ͘,ĞĂƌƐĂǇ͕ůůZdƉŽůŝĐŝĞƐĂƌĞŶŽƚƌĞůĞǀĂŶƚ͘/ĨWůĂŝŶƚŝĨĨƐƉĞĐŝĨŝĞƐƚŚĞƌĞůĞǀĂŶƚƉŽůŝĐŝĞƐĨŽƌ
                    
                                    ǁŚŝĐŚŚĞƐĞĞŬƐĂĚŵŝƐƐŝŽŶ͕ĚĞĨĞŶĚĂŶƚŵĂǇƐƚŝƉƵůĂƚĞ͘
                               ϱϴ͘Eͬ
                                ϱϵ͘Eͬ
                               ϲϬ͘,ĞĂƌƐĂǇ͘
                    
                                ϲϭ͘^ƚŝƉƵůĂƚĞĚŝĨŝƚŝƐƚŚĞƐĂŵĞƉŽůŝĐǇƐŽƵŐŚƚďǇĞĨĞŶĚĂŶƚĨŽƌĂĚŵŝƐƐŝŽŶ͘
                                ϲϮ͘,ĞĂƌƐĂǇ͕ŶŽƚƌĞůĞǀĂŶƚ͘
                               ϲϯ͘,ĞĂƌƐĂǇ͕ŶŽƚƌĞůĞǀĂŶƚ
                                ϲϰ͘,ĞĂƌƐĂǇ͕ŶŽƚƌĞůĞǀĂŶƚ
                    
                                ϲϱ͘Eͬ
                               ϲϲ͘Eͬ͘
                                ϲϳ͘Eͬ
                               ϲϴ͘^ĂŵĞĂƐϲϲ͘
                                ϲϵ͘hŶŬŶŽǁŶǁŚĂƚŝƐƌĞĨĞƌƌĞĚƚŽŚĞƌĞ͘
                    
                                ϳϬ͘,ĞĂƌƐĂǇ
                               ϳϭ͘,ĞĂƌƐĂǇ͕ŶŽƚƌĞůĞǀĂŶƚ
                                ϳϮ͘,ĞĂƌƐĂǇ͕ƌĞůĞǀĂŶĐĞ͘
                               ϳϯ͘/ĨƚŚĞǇĂƌĞƚƌĂŶƐĐƌŝƉƚƐŽĨƚŚĞĐĂůůƐŵĂĚĞƚŚĂƚǁĞƌĞĞǆŚŝďŝƚƐŝŶƚŚĞƉƌĞǀŝŽƵƐƚƌŝĂůĂŶĚƐƚŽƉ
                                   ĂƚƚŚĞƚŝŵĞƚŚĞƚŚƌŽǁƉŚŽŶĞǁĂƐƉƵƚŝŶƚŚĞĂƌůƐŽŶƌĞƐŝĚĞŶĐĞ͘EŽŽďũĞĐƚŝŽŶ͘
         
   Parsons                     ϳϰ͘,ĞĂƌƐĂǇ
LawFirm
                               ϳϱ͘,ĞĂƌƐĂǇ
                        
/$:2)),&(6         


                    
                            
)D[

                            
                    
68QLRQ6WUHHW   
32%R[
7UDYHUVH&LW\0,     
              
            
                           
                            
                                                                             
                    
                        Case 1:08-cv-00991-PLM ECF No. 417 filed 07/24/18 PageID.6717 Page 6 of 22



                           ĞĨĞŶĚĂŶƚƐŽƵŶƚǇ͕WƌŽƉŽƐĞĚǆŚŝďŝƚƐ͗΀ƵƐĞůĞƚƚĞƌƐ΁
                            
                    

                               y,//d                              ^Z/Wd/KEK&y,//d
                                           ϱKǀĞƌŚĞĂĚ'ŽŽŐůĞDĂƉƐŽĨĂƌůƐŽŶƌĞƐŝĚĞŶĐĞ
                                            ϮϭƉŚŽƚŽŐƌĂƉŚƐŽĨĂƌůƐŽŶƌĞƐŝĚĞŶĐĞĨƌŽŵD^WWŚŽƚŽŐƌĂƉŚƐ
                                
                                          ϵϭϭZĞĐŽƌĚŝŶŐ͕:ĂĐŬŝĞ^ŵŝƚŚĐĂůůƐ
                                           ϵϭϭZĞĐŽƌĚŝŶŐ͕ZŽďĞƌƚĂƌůƐŽŶĐĂůůƐ
                    
                                           ϵϭϭZĞĐŽƌĚŝŶŐ͕ƌĂŝŐĂƌůƐŽŶĐĂůůƐ
                               &           ƵƐŚŵĂƐƚĞƌƐƐĂƵůƚZŝĨůĞ
                               '           dĞĐŚϵǁĞĂƉŽŶ
                                ,           WŝƐƚŽůŝŶƌĞĂƌƉŽĐŬĞƚ
                                            ^ĞĐŽŶĚƉŝƐƚŽůŝŶƌĞĂƌƉŽĐŬĞƚ
                                /
                               :           dĂƉĞĚƚŽŐĞƚŚĞƌĂŵŵƵŶŝƚŝŽŶďĂŶĂŶĂĐůŝƉƐ
                                <           WƌĞƉĂŝĚĨƵŶĞƌĂůĚŽĐƵŵĞŶƚƐĨƌŽŵZĞǇŶŽůĚƐͲ:ŽŶŬŚŽĨĨ&ƵŶĞƌĂů,ŽŵĞ
                    

                               >           EŽƚĞďǇƌĂŝŐĂƌůƐŽŶŝĚĞŶƚŝĨǇŝŶŐ:ĂĐŬŝĞ^ŵŝƚŚĂƐĐŽŶƚĂĐƚƉĞƌƐŽŶƚŽŚĂŶĚůĞ
                                             ƉŽƐƚĚĞĂƚŚŝƐƐƵĞƐ
                               D           ,ĂŶĚǁƌŝƚƚĞŶŶŽƚĞďǇƌĂŝŐĂƌůƐŽŶďĞƋƵĞĂƚŚŝŶŐƉƌŽƉĞƌƚǇƚŽĨĂŵŝůǇ
                                             ŵĞŵďĞƌƐ;ĂƚĞƐŶŽƐϬϬϮϬ͕ϬϬϮϭͿ
                    
                                E           EŽƚĞĐŽŶƚĂŝŶŝŶŐĐŽŵďŝŶĂƚŝŽŶƚŽƐĂĨĞ
                               K           ^ƉĞŶƚĐĂƐŝŶŐƐĨƌŽŵƚĞĂƌŐĂƐĂƉƉůŝĐĂƚŝŽŶ
                                W           ^ĞůĞĐƚĚŽĐƵŵĞŶƚƐĨƌŽŵƌŶĞƐƚƵƌǁĞůůŵƉůŽǇŵĞŶƚ&ŝůĞ
                    
                                Y           ƌŝƚŝĐĂů/ŶĐŝĚĞŶƚZĞƐƉŽŶƐĞWŽůŝĐǇ͕'ƌĂŶĚdƌĂǀĞƌƐĞŽƵŶƚǇ^ŚĞƌŝĨĨ͛ƐKĨĨŝĐĞ͕
                                            :ƵŶĞϮϬ͕ϮϬϬϮ
                                Z           EŽƌƚŚĞƌŶDŝĐŚŝŐĂŶDƵƚƵĂůŝĚ͞ĂƌƌŝĐĂĚĞĚ^ƵďũĞĐƚͬ,ŽƐƚĂŐĞdĂŬĞƌƐWŽůŝĐǇ͟
                    

                           
                            
                           
                            
                    
                            
             
                           
   Parsons                 
LawFirm
                           
                        
/$:2)),&(6  
                           

                    
)D[
                            
                           
                    
68QLRQ6WUHHW
                            
32%R[
7UDYHUVH&LW\0,     
         
                          
                           
                                                                         
                    
                        Case 1:08-cv-00991-PLM ECF No. 417 filed 07/24/18 PageID.6718 Page 7 of 22



                           WůĂŝŶƚŝĨĨŽďũĞĐƚƐƚŽƚŚĞĨŽůůŽǁŝŶŐǆŚŝďŝƚƐůŝƐƚĞĚďǇĞĨĞŶĚĂŶƚƐ͗
                            
                               y,                                           K:d/KE
                                <      EŽƚĞƐŽĨƌĂŝŐĂƌůƐŽŶŵĂǇŚĂǀĞďĞĞŶǁƌŝƚƚĞŶĂĨƚĞƌƚŚĞĨŝŶĂůƚĞĂƌŐĂƐĂŶĚƚŚƌŽǁ
                                         ƉŚŽŶĞ͖ŝƌƌĞůĞǀĂŶƚŝĨĞĨĞŶĚĂŶƚ͛ƐŵŽƚŝŽŶŝŶůŝŵŝŶĞƚŽĞǆĐůƵĚĞĂůůĞǀŝĚĞŶĐĞĂĨƚĞƌƚŚĞ
                                        ƚĞĂƌŐĂƐĂŶĚƚŚƌŽǁƉŚŽŶĞŝƐŐƌĂŶƚĞĚ
                                 >      EŽƚĞƐŽĨƌĂŝŐĂƌůƐŽŶŵĂǇŚĂǀĞďĞĞŶǁƌŝƚƚĞŶĂĨƚĞƌƚŚĞĨŝŶĂůƚĞĂƌŐĂƐĂŶĚƚŚƌŽǁ
                    
                                         ƉŚŽŶĞ͖ŝƌƌĞůĞǀĂŶƚŝĨĞĨĞŶĚĂŶƚ͛ƐŵŽƚŝŽŶŝŶůŝŵŝŶĞƚŽĞǆĐůƵĚĞĂůůĞǀŝĚĞŶĐĞĂĨƚĞƌƚŚĞ
                                        ƚĞĂƌŐĂƐĂŶĚƚŚƌŽǁƉŚŽŶĞŝƐŐƌĂŶƚĞĚ
                                 D      EŽƚĞƐŽĨƌĂŝŐĂƌůƐŽŶŵĂǇŚĂǀĞďĞĞŶǁƌŝƚƚĞŶĂĨƚĞƌƚŚĞĨŝŶĂůƚĞĂƌŐĂƐĂŶĚƚŚƌŽǁ
                                        ƉŚŽŶĞ͖ŝƌƌĞůĞǀĂŶƚŝĨĞĨĞŶĚĂŶƚ͛ƐŵŽƚŝŽŶŝŶůŝŵŝŶĞƚŽĞǆĐůƵĚĞĂůůĞǀŝĚĞŶĐĞĂĨƚĞƌƚŚĞ
                                         ƚĞĂƌŐĂƐĂŶĚƚŚƌŽǁƉŚŽŶĞŝƐŐƌĂŶƚĞĚ
                    
                                 W      ĂƐĞĚŽŶĐŽƵŶƐĞů͛ƐĐŽŶĐƵƌƌĞŶĐĞ͕ŽŶůǇƚŚĞ͞ǆŚŝďŝƚΘ͕͟ǁŚŝĐŚĂƌĞƉĂŐĞƐϭͲϭϯϲ
                                        ĂŶĚϭϯϳͲϮϳϭĂƌĞĂĚŵŝƐƐŝďůĞ͖ĂŶǇŽƚŚĞƌƉĂŐĞƐŚĂǀĞďĞĞŶĞǆĐůƵĚĞĚďǇƐƚŝƉƵůĂƚŝŽŶŽĨ
                                         ĐŽƵŶƐĞů;ĞĨĞŶƐĞŽƵŶƐĞůŚĂƐŶŽƚƐƚŝƉƵůĂƚĞĚƚŽƉĂŐĞŶƵŵďĞƌƐǁŝƚŚŝŶ'ƌŽƵƉŝŶŐƐ
                    
                                         ĂŶĚĂŶĚƚŚŝƐŝƐŶŽǁĂŵŽƚŝŽŶďĞĨŽƌĞƚŚĞŽƵƌƚͿ͘
                           
                            
                           
                                    Ϯ͘    hŶĐŽŶƚƌŽǀĞƌƚĞĚ &ĂĐƚƐ͗  dŚĞ ƉĂƌƚŝĞƐ ŚĂǀĞ ĂŐƌĞĞĚ ƚŚĂƚ ƚŚĞ ĨŽůůŽǁŝŶŐ ŵĂǇ ďĞ
                    
                            ĂĐĐĞƉƚĞĚĂƐĞƐƚĂďůŝƐŚĞĚĨĂĐƚƐ͗
                                   
                            KŶƚŚĞĞǀĞŶŝŶŐŽĨEŽǀĞŵďĞƌϵ͘ϮϬϬϳ͕ĂƚĂƉƉƌŽǆŝŵĂƚĞůǇϴ͗ϯϬƉŵ͕ƌĂŐĂƌůƐŽŶ;KϬϴͬϮϲͬϮϴͿ
                           ĐĂůůĞĚϵϭϭĞŶƚƌĂůŝƐƉĂƚĐŚ͘,ŝƐƐŝƐƚĞƌĂůƐŽĐĂůůĞĚϵϭϭĞŶƚƌĂůŝƐƉĂƚĐŚ͘,ŝƐďƌŽƚŚĞƌZŽďĞƌƚĂůƐŽ
                            ĐĂůůĞĚϵͲϭͲϭĐĞŶƚƌĂůĚŝƐƉĂƚĐŚ͘
                    
                            
                           dŚĞ ^td ŝŶĐŝĚĞŶƚ ůĂƐƚĞĚ ĂƉƉƌŽǆŝŵĂƚĞůǇ ϭϮ ŚŽƵƌƐ ĂĨƚĞƌ ƚŚĞ ĨŝƌƐƚ ŽĨĨŝĐĞƌƐ ĞŶƚĞƌĞĚ ĂƌůƐŽŶ͛Ɛ
                            ƉƌŽƉĞƌƚǇ
                           
                    
                            EŽǁĂƌƌĂŶƚǁĂƐƌĞƋƵĞƐƚĞĚĚƵƌŝŶŐƚŚĞŝŶĐŝĚĞŶƚ͘
                            
                           
                                    ϯ͘    ŽŶƚƌŽǀĞƌƚĞĚ&ĂĐƚƐĂŶĚhŶƌĞƐŽůǀĞĚ/ƐƐƵĞƐ&ŽƌĞĨĞŶĚĂŶƚŽƵŶƚǇ͗
                    
                            
             
                           &ŽƌWůĂŝŶƚŝĨĨ͗
   Parsons                 
LawFirm
                           WůĂŝŶƚŝĨĨƐŽƵŐŚƚĂŶĚĚĞƐĞƌǀĞĚŵĞŶƚĂůŚĞĂůƚŚĂƐƐŝƐƚĂŶĐĞ͘
                        
/$:2)),&(6  
                           WůĂŝŶƚŝĨĨŚĂĚĂϮŶĚŵĞŶĚŵĞŶƚƌŝŐŚƚƚŽĐĂƌƌǇĂƌŵƐĂŶĚĂŵŵƵŶŝƚŝŽŶŝŶŚŝƐŚŽŵĞ͘
        
                    
)D[
                           WůĂŝŶƚŝĨĨŚĂĚĂϰƚŚŵĞŶĚŵĞŶƚƌŝŐŚƚƚŽďĞĨƌĞĞĨƌŽŵǁĂƌƌĂŶƚůĞƐƐƐĞĂƌĐŚĂŶĚĞŶƚƌǇĂŶĚƐĞŝǌƵƌĞ
                    
68QLRQ6WUHHW   ĚƵƌŝŶŐƚŚĞŝŶĐŝĚĞŶƚ͘
32%R[
7UDYHUVH&LW\0,     
         
                          dŚĞƌĞǁĂƐŶŽĞǆŝŐĞŶƚĐŝƌĐƵŵƐƚĂŶĐĞĨƌŽŵEŽǀĞŵďĞƌϵ͕ϮϬϬϳƵŶƚŝůϵ͗ϮϬĂ͘ŵ͘ŽŶEŽǀĞŵďĞƌϭϬ͕
                           ϮϬϬϳ͘

                                                                             
                    
                        Case 1:08-cv-00991-PLM ECF No. 417 filed 07/24/18 PageID.6719 Page 8 of 22



                           
                            ĂƌůƐŽŶĚŝĚŶŽƚĂŝŵŚŝƐŐƵŶĂƚĂŶǇŽĨĨŝĐĞƌĚƵƌŝŶŐƚŚĞŝŶĐŝĚĞŶƚ͘
                           
                    
                            ^ŚĞƌŝĨĨ&ĞǁŝŶƐǁĂƐŝŶĐŽŵŵĂŶĚŽĨƚŚĞŝŶĐŝĚĞŶƚ͘
                            
                           ^ŚĞƌŝĨĨ&ĞǁŝŶƐŚĂĚĂǁĂƌƌĂŶƚƉŽůŝĐǇƚŚĂƚǁĂƐ'ƌĂŶĚdƌĂǀĞƌƐĞŽƵŶƚǇ͛ƐŽĨĨŝĐŝĂůƉŽůŝĐǇ͘
                            
                    
                            ^ŚĞƌŝĨĨ&ĞǁŝŶƐ͛ƉŽůŝĐǇǁĂƐŶŽƚƚŽƵƐĞǁĂƌƌĂŶƚƐĨŽƌĂƌůƐŽŶͲƚǇƉĞŝŶĐŝĚĞŶƚƐ͘
                           
                            WƵƌƐƵĂŶƚƚŽ&ĞǁŝŶƐ͛ƉŽůŝĐǇ͕ƚŚĞ^tdƚĞĂŵĞŶƚĞƌĞĚĂƌůƐŽŶ͛ƐŚŽŵĞǁŝƚŚϮϰƌŽƵŶĚƐŽĨƚĞĂƌŐĂƐ
                           ĂŶĚ ƚŚƌĞǁ Ă ƐƵƌǀĞŝůůĂŶĐĞ ƉŚŽŶĞ ŝŶƚŽ ĂƌůƐŽŶ͛Ɛ ůŝǀŝŶŐ ƌŽŽŵ͕ ŶŽŶĞ ŽĨ ǁŚŝĐŚ ǁĂƐ ĂƵƚŚŽƌŝǌĞĚ ďǇ
                            ǁĂƌƌĂŶƚ͘
                    
                            
                           ƌĂŝŐĂƌůƐŽŶ͛ƐŚŽƵƐĞƐƵĨĨĞƌĞĚĚĂŵĂŐĞĨƌŽŵƚĞĂƌŐĂƐ͕ŝŶĐůƵĚŝŶŐ͗ĂůůǁŝŶĚŽǁƐǁĞƌĞďƌŽŬĞŶŽƵƚ͕Ăůů
                            ĚŽŽƌƐǁĞƌĞĚĂŵĂŐĞĚ͕ŶƵŵĞƌŽƵƐƉŝĞĐĞƐŽĨƐŝĚŝŶŐǁĞƌĞĚĂŵĂŐĞĚ͕ŝŶƚĞƌŝŽƌǁĂůůƐĂŶĚĨŝǆƚƵƌĞƐĂŶĚ
                           ĨƵƌŶŝƚƵƌĞǁĞƌĞĚĂŵĂŐĞĚ͕ƚŚĞŝŶƚĞƌŝŽƌĐĂƌƉĞƚŝŶŐĂŶĚĐĂďŝŶĞƚƌǇǁĞƌĞĚĂŵĂŐĞĚďŽƚŚďǇƚĞĂƌŐĂƐ
                            ƉƌŽũĞĐƚŝůĞƐĂŶĚŐĂƐĨƵŵĞƐ͘
                    
                            
                           dŽǆŝĐŽůŽŐǇƌĞƉŽƌƚƐŝŶĚŝĐĂƚĞDƌ͘ĂƌůƐŽŶŚĂĚĂŶĞůĞǀĂƚĞĚĂŶĚĂŶĞůĞǀĂƚĞĚĚŽƐĞŽĨƉƌĞƐĐƌŝƉƚŝŽŶ
                            ĚƌƵŐƐ͘
                           
                    
                            &ŽƌĞŶƐŝĐ ĂŶĂůǇƐŝƐ ĞƐƚĂďůŝƐŚĞĚ ĂƌůƐŽŶ͛Ɛ ǁĞĂƉŽŶƐ ǁĞƌĞ ŽŶ ͞ƐĂĨĞ͟ ĂŶĚ ŚŝƐ ĨŝŶŐĞƌ ǁĂƐ ŶŽƚ ŽŶ Ă
                            ƚƌŝŐŐĞƌ͕ĂŶĚŚĞǁĂƐŝŶƐŝĚĞŚŝƐŚŽŵĞ͘
                           
                            &ŽƵƌĨĂŵŝůǇŵĞŵďĞƌƐŽĨƌĂŝŐĂƌůƐŽŶǁĞƌĞĂƚƚŚĞƐĐĞŶĞ͗&ĂƚŚĞƌ:ĂĐŬ͕DŽƚŚĞƌ:ŽĂŶŶĞ͕ĂŶĚďƌŽƚŚĞƌ
                    
                            ZŽďĞƌƚ͘
                           
                            dŚĞ WůĂŝŶƚŝĨĨ͛Ɛ ƌŝŐŚƚƐ ƵŶĚĞƌ ƚŚĞ ϮŶĚ ŵĞŶĚŵĞŶƚ ŽĨ ƚŚĞ h^ ŽŶƐƚŝƚƵƚŝŽŶ ǁĞƌĞ ǀŝŽůĂƚĞĚ ŝŶ ƚŚĞ
                           ŝŶĐŝĚĞŶƚ͘
                            
                    
                            dŚĞ WůĂŝŶƚŝĨĨ͛Ɛ ƌŝŐŚƚƐ ƵŶĚĞƌ ƚŚĞ ϰƚŚ ŵĞŶĚŵĞŶƚ ŽĨ ƚŚĞ h^ ŽŶƐƚŝƚƵƚŝŽŶ ǁĞƌĞ ǀŝŽůĂƚĞĚ ŝŶ ƚŚĞ
                           ŝŶĐŝĚĞŶƚ͘
                            
                           ƵƌŝŶŐƚŚĞϭϭŚŽƵƌƐͲůŽŶŐŝŶĐŝĚĞŶƚ͕ǁŚŝůĞĂůŝǀĞ͕ƌĂŝŐĂƌůƐŽŶǁĂƐƉƐǇĐŚŽůŽŐŝĐĂůůǇŝŶũƵƌĞĚďǇƚŚĞ
                           ǁĂƌƌĂŶƚůĞƐƐĞŶƚƌǇĂŶĚƐĞĂƌĐŚĂŶĚƐĞŝǌƵƌĞďǇƚŚĞ^tdƚĞĂŵĂŶĚƚŚĞŝƌǀĂƌŝŽƵƐǁĂƌƌĂŶƚůĞƐƐƚĂĐƚŝĐƐ͕
         
   Parsons                 ǁŚŝĐŚƉƌŽĚƵĐĞĚƉƐǇĐŚŽůŽŐŝĐĂůƚƌĂƵŵĂ͘
LawFirm
                           
                        ƵƌŝŶŐƚŚĞŝŶĐŝĚĞŶƚ͕ĂƌůƐŽŶĞǆƉƌĞƐƐĞĚŽƵƚƌĂŐĞƚŚĂƚŚŝƐŚŽŵĞĂŶĚĐƵƌƚŝůĂŐĞŚĂĚďĞĞŶĚĂŵĂŐĞĚ͕
/$:2)),&(6         ĂŶĚƐƚĂƚĞĚƚŽŽĨĨŝĐĞƌƐ͕͞/ĂŵŐŽŝŶŐƚŽƐƵĞǇŽƵĨŽƌǁŚĂƚǇŽƵĚŝĚƚŽŵǇŚŽƵƐĞ͘͟


                    
                            
)D[

                            'ƌĂŶĚdƌĂǀĞƌƐĞŽƵŶƚǇƉĞƌƐŽŶŶĞůĞƌĂƐĞĚŽƌůŽƐƚĞǀŝĚĞŶĐĞŽĨƚŚĞĐĂůůƐĂŶĚĐŽŵŵĞŶƚƐĚƵƌŝŶŐƚŚĞ
                    
68QLRQ6WUHHW   ŝŶĐŝĚĞŶƚ͘
32%R[
7UDYHUVH&LW\0,     
              ƚĂƉƉƌŽǆŝŵĂƚĞůǇϴ͗ϯϬƉŵŽŶEŽǀĞŵďĞƌϵĂƌůƐŽŶĨŝƌĞĚŽŶĞŐƵŶƐŚŽƚŝŶŚŝƐďĂĐŬǇĂƌĚ͕ŶŽƚĂŝŵĞĚ
            
                           ĂƚĂŶǇƉĞƌƐŽŶ͘ĂƌůƐŽŶĚŝĚŶŽƚĨŝƌĞĂŶŽƚŚĞƌƐŚŽƚĚƵƌŝŶŐƚŚĞŝŶĐŝĚĞŶƚ͘
                            
                                                                              
                    
                        Case 1:08-cv-00991-PLM ECF No. 417 filed 07/24/18 PageID.6720 Page 9 of 22



                           ƉƉƌŽǆŝŵĂƚĞůǇ ϲϬ EŽƌƚŚĞƌŶ DŝĐŚŝŐĂŶ DƵƚƵĂů ŝĚ dĂƐŬ &ŽƌĐĞ ;^tdͿ ŽĨĨŝĐĞƌƐ ĨƌŽŵ ǀĂƌŝŽƵƐ
                            ũƵƌŝƐĚŝĐƚŝŽŶƐ ƐƵƌƌŽƵŶĚĞĚ ƚŚĞ ĂƌůƐŽŶ ƌĞƐŝĚĞŶĐĞ͕ ĞŶƚĞƌĞĚ ŚŝƐ ĐƵƌƚŝůĂŐĞ ƉƌŽƉĞƌƚǇ͕ ŝŶƐƚĂůůĞĚ ŬůŝĞŐ
                           ůŝŐŚƚƐ͕ƐůĂƐŚĞĚŚŝƐĐĂƌƚŝƌĞƐŝŶŚŝƐĚƌŝǀĞǁĂǇ͕ĐƵƚƉŽǁĞƌƚŽƚŚĞŚŽƵƐĞ͕ĐƵƚŚĞĂƚƚŽƚŚĞŚŽƵƐĞ͕ĐƵƚ
                    
                            ƉŚŽŶĞĐŽŵŵƵŶŝĐĂƚŝŽŶƐƚŽƚŚĞŚŽƵƐĞ͘
                            
                           dŚĞ^tdĨŽƌĐĞǁĂƐƵŶĚĞƌƚŚĞĐŽŵŵĂŶĚŽĨ'ƌĂŶĚdƌĂǀĞƌƐĞŽƵŶƚǇ^ŚĞƌŝĨĨ^ĐŽƚƚ&ĞǁŝŶƐ͘
                            
                    
                            ^ŚĞƌŝĨĨ &ĞǁŝŶƐ͛ ƉŽůŝĐǇ ƌĞŐĂƌĚŝŶŐ ƚŚĞ ƵƐĞ Žƌ ŶŽŶͲƵƐĞ ŽĨ ǁĂƌƌĂŶƚƐ ǁĂƐ 'ƌĂŶĚ dƌĂǀĞƌƐĞ ŽƵŶƚǇ͛Ɛ
                           ŽĨĨŝĐŝĂůƉŽůŝĐǇ͕ďǇŽƉĞƌĂƚŝŽŶŽĨůĂǁ͘
                            
                           ƌĂŝŐĂƌůƐŽŶ͛ƐƉŝĐƚƵƌĞǁŝŶĚŽǁǁĂƐďƌŽŬĞŶďǇĂƚŚƌŽǁƉŚŽŶĞ͘
                            
                    
                            &ŽƌĞĨĞŶĚĂŶƚŽƵŶƚǇ͗
                           
                            ŝĚƚŚĞŽƌŝŐŝŶĂůĞǆŝŐĞŶĐǇƚŚĂƚĂůůŽǁĞĚƉŽůŝĐĞŽĨĨŝĐĞƌƐƚŽƐƵƌƌŽƵŶĚƌĂŝŐĂƌůƐŽŶ͛ƐŚŽŵĞĚŝŵŝŶŝƐŚ
                           ƚŽƐƵĐŚĂĚĞŐƌĞĞƚŚĂƚĂǁĂƌƌĂŶƚŶĞĞĚĞĚƚŽďĞƐŽƵŐŚƚĨƌŽŵĂŵĂŐŝƐƚƌĂƚĞďĞĨŽƌĞƚǁŽƌŽƵŶĚƐŽĨ
                            ƚĞĂƌŐĂƐǁĞƌĞĞŵƉůŽǇĞĚĂƚϱ͗ϯϬĂŶĚϲ͗ϯϬĂŵĂŶĚĂƚŚƌŽǁƉŚŽŶĞƉůĂĐĞĚŝŶƚŚĞŚŽƵƐĞĂƚϳ͗ϯϬĂŵ͍
                    
                            
                           /ĨƐŽ͕
                            
                           ŝĚƚŚĞŽƵŶƚǇŚĂǀĞĂŶƵŶĐŽŶƐƚŝƚƵƚŝŽŶĂůƉŽůŝĐǇŽƌƉƌĂĐƚŝĐĞŽĨŶĞǀĞƌŽďƚĂŝŶŝŶŐǁĂƌƌĂŶƚƐďĞĨŽƌĞ
                    
                            ƚŚĞƵƐĞŽĨƚĞĂƌŐĂƐŽƌĂƚŚƌŽǁƉŚŽŶĞŝŶĂďĂƌƌŝĐĂĚĞĚŐƵŶŵĂŶƐŝƚƵĂƚŝŽŶǁŚĞƌĞƚŚĞĞǆŝŐĞŶĐǇŚĂĚ
                            ĚŝŵŝŶŝƐŚĞĚƚŽƐƵĐŚĂŶĞǆƚĞŶƚƚŚĂƚĂǁĂƌƌĂŶƚŶĞĞĚĞĚƚŽďĞƐŽƵŐŚƚĨƌŽŵĂŵĂŐŝƐƚƌĂƚĞ͍
                           
                            /ĨƐŽ͕
                    
                            
                           tĂƐƚŚĞŽƵŶƚǇƉŽůŝĐǇŽƌƉƌĂĐƚŝĐĞƚŚĞŵŽǀŝŶŐĨŽƌĐĞďĞŚŝŶĚƚŚĞŽŶƐƚŝƚƵƚŝŽŶĂůǀŝŽůĂƚŝŽŶ͍
                            
                           /ĨƐŽ͕
                            
                    
                            tŚĂƚĂƌĞƚŚĞĚĂŵĂŐĞƐƚŽƚŚĞWůĂŝŶƚŝĨĨƚŚĂƚǁĞƌĞƉƌŽǆŝŵĂƚĞůǇĐĂƵƐĞĚďǇƚŚĞǀŝŽůĂƚŝŽŶ͍
                           
                            
                                   ϰ͘     tŝƚŶĞƐƐĞƐ͗
                           
         
   Parsons                                  Ă͘      EŽŶͲĞǆƉĞƌƚ ǁŝƚŶĞƐƐĞƐ ƚŽ ďĞ ĐĂůůĞĚ ďǇ WůĂŝŶƚŝĨĨ ĂŶĚ ĞĨĞŶĚĂŶƚƐ͕ ĞǆĐĞƉƚ
LawFirm
                                                     ƚŚŽƐĞǁŚŽŵĂǇďĞĐĂůůĞĚĨŽƌŝŵƉĞĂĐŚŵĞŶƚƉƵƌƉŽƐĞƐŽŶůǇ͕ĂƌĞ͗
                        
/$:2)),&(6         &ŽƌWůĂŝŶƚŝĨĨ͗;WůĂŝŶƚŝĨĨŝŶƚĞŶĚƐƚŽĐĂůůƚŚĞĨŽůůŽǁŝŶŐǁŝƚŶĞƐƐĞƐƚŽĂƉƉĞĂƌŝŶƉĞƌƐŽŶ͘Ϳ ^ƉĞĐŝĨǇďǇ


                    
                            ƉĞƌƐŽŶ͕ǀŝĚĞŽŽƌďǇƌĞĂĚŝŶŐĚĞƉƚƌĂŶƐ͘
)D[

                            
                    
68QLRQ6WUHHW   ŶĚĞƌƐŽŶ͕:ĂŵĂů;ĞŶƚƌĂůŝƐƉĂƚĐŚƌĞĐŽƌĚͿ͕ĐͬŽ'ƌĂŶĚdƌĂǀĞƌƐĞŽƵŶƚǇ͕
32%R[
7UDYHUVH&LW\0,             dƌĂǀĞƌƐĞŝƚǇD/;ŝŶƉĞƌƐŽŶͿ
              
            
                           ůŐĞƌ͕EĂƚĞ;hŶĚĞƌƐŚĞƌŝĨĨͿ͕ĐͬŽ'ƌĂŶĚdƌĂǀĞƌƐĞŽƵŶƚǇ^ŚĞƌŝĨĨ͛ƐĞƉĂƌƚŵĞŶƚ͕
                                    dƌĂǀĞƌƐĞŝƚǇD/;ŝŶƉĞƌƐŽŶͿ
                                                                                
                    
                        Case 1:08-cv-00991-PLM ECF No. 417 filed 07/24/18 PageID.6721 Page 10 of 22



                           
                            ^Őƚ͘ǇůŝŶŐ͕'ƌĂŶƚdƌĂǀĞƌƐĞŽƵŶƚǇ^ŚĞƌŝĨĨ
                           
                    
                            Ăƌƌ͕,ĂƌŽůĚ͕ϳϲϵtŝŶĚŵŝůů>ĂŶĞ͕dƌĂǀĞƌƐĞŝƚǇ
                            
                           ĞŶƐůĞǇ͕dŚŽŵĂƐ͕'ƌĂŶĚdƌĂǀĞƌƐĞŽƵŶƚ^ŚĞƌŝĨĨ;ĨŽƌŵĞƌ'ƌĂŶĚdƌĂǀĞƌƐĞŽƵŶƚǇĞƉƵƚǇ^ŚĞƌŝĨĨͿ
                            
                    
                            ŽŶŶĞůůǇ͕ƌŝĂŶ͕<ĂůŬĂƐŬĂŽƵŶƚǇWƌŽƐ͘ƚƚǇ͕<ĂůŬĂƐŬĂ͕D/
                           
                            tĂŬĞĨŝĞůĚ͕<ŝƌŬ͕ϮϬϬtĞƐƚDŝĐŚŝŐĂŶǀĞ͕'ƌĂǇůŝŶŐD/ϰϵϳϯϴ͘^ŚĞƌŝĨĨŽĨƌĂǁĨŽƌĚŽƵŶƚǇ͘
                           
                            ŚĞůůŝƐ͕dƌĂǀŝƐ͕ĐͬŽ͕ŶƚƌŝŵŽƵŶƚǇ^ŚĞƌŝĨĨ͛ƐĞƉƚ͘
                    
                            
                           WĞƌŽƐŬĞǇ͕dŚŽŵĂƐ͕ĐͬŽdƌĂǀĞƌƐĞŝƚǇWŽůŝĐĞĞƉƚ͕dƌĂǀĞƌƐĞŝƚǇD/
                            
                           ƌǌĞǁŝĞĐŬŝ͕^ƚĞǀĞ͕ĐͬŽĚĞĨĞŶƐĞĐŽƵŶƐĞůKůƐĞŶ
                            
                    
                            ,ĂƌƌŝƐ͕DĂƌŬ;D^WͿ͕ĐͬŽD/^ƚĂƚĞWŽůŝĐĞ͕dƌĂǀĞƌƐĞŝƚǇWŽƐƚ͘
                           
                            ^ŵŝƚŚ͕:ĂĐŬŝĞ͕ϯϯϬϯE͘tĂƐŚŝŶŐƚŽŶ͕<ŽŬŽŵŽƐ͕/ŶĚŝĂŶĂϰϲϵϬϭ͕ϳϲϱͲϰϯϰͲϵϯϬϭ
                           
                    
                            ĂƌůƐŽŶ͕ZŽďƚ͕͘WůĂŝŶƚŝĨĨ͕ĐͬŽŽĨĐŽƵŶƐĞůĨŽƌWůĂŝŶƚŝĨĨ
                            
                           ĂƌůƐŽŶ͕:ĂĐŬ;&ĂƚŚĞƌŽĨĚĞĐĞĚĞŶƚͿ
                            
                    
                            ĂƌůƐŽŶ͕:ŽĂŶŶĞ͕ϮϬϭϬt͘DĞƌŬĞǇZĚ͕͘DĂŶŝƐƚĞĞ͕D/ϰϵϲϲϬ
                           
                            &ĞǁŝŶƐ͕^ĐŽƚƚ͕ĐͬŽĚĞĨĞŶƐĞĐŽƵŶƐĞůŽŽŬĞ
                           
                            ^ŝůůĞƌƐ͕ZŽďĞƌƚ͕ĐͬŽĚĞĨĞŶƐĞĐŽƵŶƐĞůŽŽŬĞ
                    
                            
                           ,ĂŵŝůƚŽŶ͕:ĂƐŽŶ͕ĐͬŽĚĞĨĞŶƐĞĐŽƵŶƐĞůŽŽŬĞ
                            
                           ^ůŝŬŬĞƌƐD͕^ƚĞǀĞŶ;DƵŶƐŽŶϴͬϮϮͬϬϳĚŝƐĐŚĂƌŐĞƌĞĐŽƌĚͿ͕DƵŶƐŽŶDĞĚŝĐĂů
                                   ĞŶƚĞƌ͕dƌĂǀĞƌƐĞŝƚǇD/
         
   Parsons                 
LawFirm
                           ^ŽĨĨƌĞĚŝŶĞ͕:ŽƐĞƉŚ͕'ƌĂŶĚdƌĂǀĞƌƐĞŽƵŶƚǇ^ŚĞƌŝĨĨĞƉƵƚǇ
                        
/$:2)),&(6         tŝůůD͕:ŽƐĞƉŚ͕DƵŶƐŽŶϴͬϮϬͬϬϳĚŝƐĐŚĂƌŐĞƌĞĐŽƌĚ


                    
                            
)D[

                            sĂŶŶ͕'ĂƌǇ;WůĂŝŶƚŝĨĨ͛ƐƚƌĞĂƚŝŶŐƉƐǇĐŚŽůŽŐŝƐƚͿϯϰϵϭ,ĂƌƚŵĂŶZĚ͕͘dƌĂǀĞƌƐĞŝƚǇ
                    
68QLRQ6WUHHW           D/ϰϵϲϴϰϮϯϭϵϰϳͲϮϵϵϬ
32%R[
7UDYHUVH&LW\0,     
              
            
                           
                            
                                                                              
                    
                        Case 1:08-cv-00991-PLM ECF No. 417 filed 07/24/18 PageID.6722 Page 11 of 22



                           ĞĨĞŶĚĂŶƚƐŽďũĞĐƚƚŽƚŚĞĨŽůůŽǁŝŶŐǁŝƚŶĞƐƐĞƐůŝƐƚĞĚďǇƚŚĞWůĂŝŶƚŝĨĨ͗
                            
                           KďũĞĐƚŝŽŶ͘dŚŽŵĂƐĞŶƐůĞǇǁĂƐŶĞǀĞƌůŝƐƚĞĚĂƐĂǁŝƚŶĞƐƐĂŶĚǁĂƐŶŽƚŝŶƚŚĞůĂǁĞŶĨŽƌĐĞŵĞŶƚ
                    
                            ĨŝĞůĚůĞƚĂůŽŶĞǁŽƌŬŝŶŐĨŽƌŽŶĞŽĨƚŚĞŝŶǀŽůǀĞĚĞŶƚŝƚŝĞƐĂƚƚŚĞƚŝŵĞŽĨƚŚĞŝŶĐŝĚĞŶƚ͘
                            
                           KďũĞĐƚŝŽŶ͘ƌŝĂŶŽŶŶĞůůǇŝƐƚŚĞĚĞĐĞĂƐĞĚ͕ĨŽƌŵĞƌWƌŽƐĞĐƵƚŝŶŐƚƚŽƌŶĞǇŽĨ<ĂůŬĂƐŬĂŽƵŶƚǇǁŚŽ
                            ǁĂƐĐĂůůĞĚƵƉŽŶƚŽƌĞǀŝĞǁǁŚĞƚŚĞƌŽƌŶŽƚŚĂƌůŝĞ:ĞƚƚĞƌƵƐĞĚĞǆĐĞƐƐŝǀĞĨŽƌĐĞ͘,ŝƐĚĞƉŽƐŝƚŝŽŶĚŝĚ
                    
                            ŶŽƚĚĞĂůǁŝƚŚƚŚĞƐĞĂƌĐŚǁĂƌƌĂŶƚƋƵĞƐƚŝŽŶƐĐƵƌƌĞŶƚůǇďĞĨŽƌĞƚŚĞŽƵƌƚ͘
                           
                            ^ƚĞǀĞŶ^ůŝŬŬĞƌƐǁŽƵůĚŶŽƚŚĂǀĞƌĞůĞǀĂŶƚƚĞƐƚŝŵŽŶǇĂƐŚĞǁĂƐĂƚƌĞĂƚŝŶŐƉŚǇƐŝĐŝĂŶĨŽƌDƌ͘ĂƌůƐŽŶ
                           ƉƌŝŽƌƚŽƚŚĞŝŶĐŝĚĞŶƚ͘,ĞǁĂƐŶŽƚŝŶǀŽůǀĞĚƚŽĂŶǇĚĞŐƌĞĞĂƚƚŚĞƐĐĞŶĞ͘
                            
                    
                            :ŽƐĞƉŚtŝůůǁĂƐĂƚƌĞĂƚŝŶŐƉŚǇƐŝĐŝĂŶŽĨƌĂŝŐĂƌůƐŽŶƉƌŝŽƌƚŽƚŚŝƐŝŶĐŝĚĞŶƚ͕ǁĂƐŶŽƚĂƚƚŚĞƐĐĞŶĞ
                           ĂŶĚǁŽƵůĚŶŽƚŚĂǀĞĂŶǇƌĞůĞǀĂŶƚĞǀŝĚĞŶĐĞƚŽƚŚĞŝƐƐƵĞƐŽŶƚƌŝĂů͘
                            
                           'ĂƌǇsĂŶŶŝƐŽďũĞĐƚŝŽŶĂďůĞĨŽƌƚŚĞƐĂŵĞƌĞĂƐŽŶĂƐƌƐ͘^ůŝŬŬĞƌƐĂŶĚtŝůů͘dŚĞǇǁĞƌĞƚƌĞĂƚŝŶŐ
                            ƉŚǇƐŝĐŝĂŶƐŽĨDƌ͘ĂƌůƐŽŶƉƌŝŽƌƚŽƚŚĞŝŶĐŝĚĞŶƚ͕ǁĞƌĞŶŽƚĂƚƚŚĞƐĐĞŶĞĂŶĚǁŽƵůĚŚĂǀĞŶŽƌĞůĞǀĂŶƚ
                    
                            ĞǀŝĚĞŶĐĞ͘
                           
                                    
                           
                    
                            &ŽƌĞĨĞŶĚĂŶƚƐ&ĞǁŝŶƐ͕ŽƵŶƚǇ͗
                            
                           ͘:ƵƐƚŝŶZĞǀŶĞůů͕ĐͬŽĞĨĞŶƐĞĐŽƵŶƐĞů͕ǁŝůůďĞĐĂůůĞĚ͘
                            
                    
                            ͘DĂƌƚǇDĐDĂŶƵƐ͕ĐͬŽĞĨĞŶƐĞĐŽƵŶƐĞů͕ǁŝůůďĞĐĂůůĞĚ͘
                           
                            ͘DŝŬĞKƉƉĞƌ͕;ďǇƌĞĂĚŝŶŐŚŝƐƚĞƐƚŝŵŽŶǇĨƌŽŵƚŚĞĨŝƌƐƚƚƌŝĂů͕Dƌ͘KƉƉĞƌŝƐŶŽǁĂƚĞĂĐŚĞƌŝŶŚŝŶĂͿ͕
                           ǁŝůůďĞĐĂůůĞĚ͘
                            
                    
                            ͘Žď^ŝůůĞƌƐ͕;ůŝǀĞŽƌďǇƌĞĂĚŝŶŐŚŝƐƚĞƐƚŝŵŽŶǇĨƌŽŵƚŚĞĨŝƌƐƚƚƌŝĂůͿĐͬŽĞĨĞŶƐĞĐŽƵŶƐĞů͘
                           
                            ͘^ĐŽƚƚ&ĞǁŝŶƐ͕ĐͬŽĚĞĨĞŶƐĞĐŽƵŶƐĞů͕ǁŝůůďĞĐĂůůĞĚ͘
                           
                           ,͘^ƚĞǀĞƌǌĞǁŝĞĐŬŝ͕ĐͬŽ'ƌĞƚĐŚĞŶKůƐĞŶ͕WůƵŶŬĞƚƚŽŽŶĞǇ͕ǁŝůůďĞĐĂůůĞĚ͘
         
   Parsons                 
LawFirm
                           /͘'ƌĞŐDĐDĂŶĞŵǇ͕'ƌĂŶĚdƌĂǀĞƌƐĞŽƵŶƚǇ^ŚĞƌŝĨĨ͛ƐĞƉĂƌƚŵĞŶƚ͕ǁŝůůďĞĐĂůůĞĚ͘
                        
/$:2)),&(6         :͘DŝĐŚĂĞůǇůŝŶŐĐͬŽĚĞĨĞŶƐĞĐŽƵŶƐĞů͕ǁŝůůďĞĐĂůůĞĚ͘


                    
                            
)D[

                            <͘ů^ĐŚŶĞŝĚĞƌ͕tŝůůŝĂŵƐďƵƌŐ͕D/͕ŵĂǇďĞĐĂůůĞĚ͘
                    
68QLRQ6WUHHW   
32%R[
7UDYHUVH&LW\0,     >͘EĂƚĞůŐĞƌ͕'ƌĂŶĚdƌĂǀĞƌƐĞŽƵŶƚǇ͕ŵĂǇďĞĐĂůůĞĚ͘
              
            
                           D͘  :ŽƐĞƉŚ ƵƉƵŝĞ͕ <ĂůŬĂƐŬĂ ŽƵŶƚǇ ^ŚĞƌŝĨĨ͛Ɛ ĞƉĂƌƚŵĞŶƚ͕ ϲϬϱ E͘ ŝƌĐŚ ^ƚƌĞĞƚ͕ <ĂůŬĂƐŬĂ͕ D/
                            ϰϵϲϰϲ͕ŵĂǇďĞĐĂůůĞĚ͘
                                                                             
                    
                        Case 1:08-cv-00991-PLM ECF No. 417 filed 07/24/18 PageID.6723 Page 12 of 22



                           
                            E͘WĂƚŶĚƌĞƐƐĞŶ͕ϵϭϭĚŝƐƉĂƚĐŚĞƌ͕'ƌĂŶĚdƌĂǀĞƌƐĞŽƵŶƚǇ͕ĐͬŽĞĨĞŶƐĞĐŽƵŶƐĞů͕ǁŝůůďĞĐĂůůĞĚ͘
                           
                    
                            K͘:ŝŵĂŶĞŬ͕'ƌĂŶĚdƌĂǀĞƌƐĞŽƵŶƚǇ͕ĐͬŽĞĨĞŶƐĞĐŽƵŶƐĞů͕ǁŝůůďĞĐĂůůĞĚ
                            
                           W͘ZĂŶĚǇ&ĞǁůĞƐƐ͕'ƌĂŶĚdƌĂǀĞƌƐĞŽƵŶƚǇ͕ĐͬŽĚĞĨĞŶƐĞĐŽƵŶƐĞů͕ŵĂǇďĞĐĂůůĞĚ͘
                            
                    
                            Y͘DĂƌŬ,ĂƌƌŝƐ͕DŝĐŚŝŐĂŶ^ƚĂƚĞWŽůŝĐĞ͕dƌĂǀĞƌƐĞŝƚǇ͕D/͕ŵĂǇďĞĐĂůůĞĚ͘
                           
                            EŽƚĞ͕ĂůůƚŚĞƐĞǁŝƚŶĞƐƐĞƐƚĞƐƚŝĨŝĞĚŝŶƚŚĞĨŝƌƐƚƚƌŝĂů͕ŽƚŚĞƌƚŚĂŶǁŝƚŶĞƐƐĞƐ<͘ĂŶĚ>͘ĂŶĚƌĞĨĞƌĞŶĐĞ
                           ŝƚŵĂĚĞƚŽƚŚĂƚƌĞĐŽƌĚĂƐƚŽƚŚĞŝƌĞǆƉĞĐƚĞĚƚĞƐƚŝŵŽŶǇ͘tŝƚŶĞƐƐ<͕ů^ĐŚŶĞŝĚĞƌŵĂǇƚĞƐƚŝĨǇĂƐ
                            ƚŽ ŚŝƐ ƌĞĐŽůůĞĐƚŝŽŶ ŽĨ ĚŝƐĐƵƐƐŝŽŶƐ ŚĞ ŚĂĚ ǁŝƚŚ ^ŚĞƌŝĨĨ &ĞǁŝŶƐ ŽŶ ƚŚĞ ŶŝŐŚƚ ŽĨ ƚŚĞ ŝŶĐŝĚĞŶƚ͘
                    
                            tŝƚŶĞƐƐ > ŵĂǇ ƚĞƐƚŝĨǇ ƌĞŐĂƌĚŝŶŐ ŚŝƐ ĚƵƚŝĞƐ ĂŶĚ ŽďƐĞƌǀĂƚŝŽŶƐ Ăƚ ƚŚĞ ƐĐĞŶĞ ĂŶĚ ĚŝƐĐƵƐƐŝŽŶƐ
                           ŽǀĞƌŚĞĂƌĚďĞƚǁĞĞŶů^ĐŚŶĞŝĚĞƌĂŶĚ^ŚĞƌŝĨĨ&ĞǁŝŶƐ͘
                            
                           WůĂŝŶƚŝĨĨŽďũĞĐƚƐƚŽƚŚĞĨŽůůŽǁŝŶŐǁŝƚŶĞƐƐůŝƐƚĞĚďǇĞĨĞŶĚĂŶƚƐ͗
                            
                    
                            K:d/KE /^ D ^ dK > ^,E/Z͘  , ,^ EKd E WK^ KZ /^>K^͘
                           WZ^hD>z,Z^z͘
                            
                           
                    
                                           ď͘     ǆƉĞƌƚ ǁŝƚŶĞƐƐĞƐ ƚŽ ďĞ ĐĂůůĞĚ ďǇ ƚŚĞ WůĂŝŶƚŝĨĨƐ ĂŶĚ ĞĨĞŶĚĂŶƚƐ͕ ĞǆĐĞƉƚ
                            ƚŚŽƐĞǁŚŽŵĂǇďĞĐĂůůĞĚĨŽƌŝŵƉĞĂĐŚŵĞŶƚƉƵƌƉŽƐĞƐŽŶůǇ͕ĂƌĞ͗
                           
                            &ŽƌWůĂŝŶƚŝĨĨ͗
                    
                            
                                          ŚĂŵďĞƌůĂŝŶ͕ŶŶĞ͕WKŽǆϮϳϭϮϮ͕>ĂŶƐŝŶŐD/
                                           ;ϱϭϳͿϴϴϭͲϱϵϬϬ
                                          ƌŝŵĞƐĐĞŶĞĂŶĂůǇƐŝƐ;ďůŽŽĚ͕ŵĞĂƐƵƌĞŵĞŶƚƐ͕ĚŝĂŐƌĂŵƐ͕
                                           WŚŽƚŽƐ͕ǁĞĂƉŽŶƐͿ;^ĞĞƌĞƉŽƌƚͿ
                    
                                    
                                          DĐŽǇ͕ĂŶŝĞů͕ϯϲϯŽůŝŶƚ͕͘ĂƌŵĞů͕/ŶĚŝĂŶĂ
                                           ϯϭϳͲϮϰϯͲϯϴϵϰ
                                          dŽǆŝĐŽůŽŐǇ;^ĞĞƌĞƉŽƌƚͿ
                           
         
   Parsons                                ƌŶĞƐƚƵƌǁĞůů;ĂĚĚƌĞƐƐƐĂŵĞĂƐŝŶĚĞƉŽƐŝƚŝŽŶͿ
LawFirm
                                          WŽůŝĐĞĐƵƐƚŽŵĂŶĚƉƌĂĐƚŝĐĞ;^ĞĞƌĞƉŽƌƚͿ
                        
/$:2)),&(6                        ^ŚŝĞŶĞƌ͕ƌ͘'ĞƌĂůĚ͕Ϯϱϭ͘DĞƌƌŝůů͕ŝƌŵŝŶŐŚĂŵ͕D/͕


                    
                                           ϮϰϴͲϲϰϱͲϱϭϱϱ
)D[

                                           &ŽƌĞŶƐŝĐƉƐǇĐŚŝĂƚƌǇĂŶĚƉŽůŝĐĞďƌŝĞĨŝŶŐ;^ĞĞƌĞƉŽƌƚͿ
                    
68QLRQ6WUHHW   
32%R[
7UDYHUVH&LW\0,     
              
            
                           

                                                                               
                    
                        Case 1:08-cv-00991-PLM ECF No. 417 filed 07/24/18 PageID.6724 Page 13 of 22



                           K:d/KE/^DdKd,&K>>Kt/E'yWZdt/dE^^^K&d,W>/Ed/&&^d,z,s
                            EKdZ>sEdKZDdZ/>d^d/DKEz&KZd,/^^h^/Ed,/^dZ/>͘
                           
                    
                            EE,DZ>/E;ďůŽŽĚƐƉĂƚƚĞƌͿ
                            
                           E/>DKz;ĐůĂŝŵƐďǇWůĂŝŶƚŝĨĨŽĨƐƉŽůŝĂƚŝŽŶŽĨĞǀŝĚĞŶĐĞǁĞƌĞƌĞƐŽůǀĞĚĂƚƚŚĞĨŝƌƐƚƚƌŝĂů͕
                            ƚŽǆŝĐŽůŽŐǇŝƐŶŽƚƌĞůĞǀĂŶƚďĞĐĂƵƐĞĂƚƚŚĞƚŝŵĞƚĞĂƌŐĂƐĂŶĚƚŚĞƚŚƌŽǁƉŚŽŶĞǁĞƌĞƵƐĞĚ͕ƚŚĞ
                    
                            ďůŽŽĚĂůĐŽŚŽůůĞǀĞůƐŽĨDƌ͘ĂƌůƐŽŶǁĞƌĞƵŶŬŶŽǁŶͿ
                           
                            K:d/KE^dKZE^dhZt>>,sEZh>KEzd,KhZd͘
                           
                                          
                    
                            &ŽƌĞĨĞŶĚĂŶƚƐ&ĞǁŝŶƐ͕ŽƵŶƚǇ
                           
                            ǆƉĞƌƚtŝƚŶĞƐƐĞƐ
                           
                            ͘     ĂƌƌĞůůZŽƐƐ
                    
                                   sĂĚŽůƐƚĂ^ƚĂƚĞhŶŝǀĞƌƐŝƚǇ
                                  ϱϬϲϱWůĂŶƚĞƌƐƌŽƐƐŝŶŐ
                                   ,ĂŚŝƌĂ͕'ϯϭϲϯϮ
                           
                    
                                           Dƌ͘ZŽƐƐǁŝůůƚĞƐƚŝĨǇĐŽŶƐŝƐƚĞŶƚǁŝƚŚŚŝƐĚĞƉŽƐŝƚŝŽŶŽĨƉƌŝůϭϬ͕ϮϬϭϬĂŶĚŚŝƐ
                                    ƌĞƉŽƌƚĚĂƚĞĚDĂƌĐŚϮϮ͕ϮϬϭϬƚŚĂƚĞǆŝŐĞŶƚĐŝƌĐƵŵƐƚĂŶĐĞƐĞǆĐƵƐĞĚĂŶǇǁĂƌƌĂŶƚ
                                   ƌĞƋƵŝƌĞŵĞŶƚƉƌŝŽƌƚŽƚŚĞƵƐĞŽĨƚĞĂƌŐĂƐŽƌƚŚĞƚŚƌŽǁƉŚŽŶĞĂƐǁĞůůĂƐƌĞůĂƚĞĚŝƐƐƵĞƐ͘
                            
                    
                            ͘     ĂŶŝĞů'ƌĂŶƚ
                                          Dƌ͘'ƌĂŶƚǁŝůůƚĞƐƚŝĨǇĐŽŶƐŝƐƚĞŶƚǁŝƚŚŚŝƐƌĞƉŽƌƚŽĨDĂƌĐŚϭϱ͕ϮϬϭϬĂŶĚŚŝƐ
                                    ĚĞƉŽƐŝƚŝŽŶŽĨƉƌŝůϮϮ͕ϮϬϭϬƚŚĂƚƐĞĂƌĐŚǁĂƌƌĂŶƚƐĂƌĞŶŽƚƌĞƋƵŝƌĞĚǁŚĞŶƉƌŽƉĞƌƉŽůŝĐĞ
                                   ƚĂĐƚŝĐƐĂƌĞƵƐĞĚƚŽĂƚƚĞŵƉƚƚŽƌĞƐŽůǀĞĂďĂƌƌŝĐĂĚĞĚŐƵŶŵĂŶƐŝƚƵĂƚŝŽŶƉĞĂĐĞĂďůǇĂƐǁĞůů
                                    ĂƐƌĞůĂƚĞĚŝƐƐƵĞƐ͘     
                    
                            
                           
                            
                                  ϱ͘     ĞƉŽƐŝƚŝŽŶƐĂŶĚKƚŚĞƌŝƐĐŽǀĞƌǇŽĐƵŵĞŶƚƐ͗
                           
         
   Parsons                        ůůĚĞƉŽƐŝƚŝŽŶƐ͕ĂŶƐǁĞƌƐƚŽǁƌŝƚƚĞŶŝŶƚĞƌƌŽŐĂƚŽƌŝĞƐ͕ƌĞƋƵĞƐƚƐĨŽƌĂĚŵŝƐƐŝŽŶƐ͕ŽƌƉŽƌƚŝŽŶƐ
LawFirm
                           ƚŚĞƌĞŽĨ͕ƚŚĂƚĂƌĞĞǆƉĞĐƚĞĚƚŽďĞŽĨĨĞƌĞĚŝŶĞǀŝĚĞŶĐĞďǇƚŚĞWůĂŝŶƚŝĨĨĂŶĚƚŚĞĞĨĞŶĚĂŶƚƐĂƌĞ͗
                        
/$:2)),&(6                                        


                    
)D[

                    
68QLRQ6WUHHW
32%R[
7UDYHUVH&LW\0,
         
            
                    

                                                                           
                    
                        Case 1:08-cv-00991-PLM ECF No. 417 filed 07/24/18 PageID.6725 Page 14 of 22



                           &ŽƌWůĂŝŶƚŝĨĨ͗
                            
                           ĞƉŽƐŝƚŝŽŶǆĐĞƌƉƚƐ͗
                    
                            
                            :ĂƐŽŶ,ĂŵŝůƚŽŶĞƉĞǆĐĞƌƉƚƐWŐƐϭϲʹϭϵ͕ƉĂƐƐŝŵ
                           ZŽďĞƌƚ^ŝůůĞƌƐĞƉĞǆĐĞƌƉƚƐ͕WŐƐϮϭ͕Ϯϱ͕Ϯϲ͕ϰϲͲϰϵ͕ƉĂƐƐŝŵ
                            ^ĐŽƚƚ&ĞǁŝŶƐϭϮͬϭϱͬϬϵĞƉĞǆĐĞƌƉƚƐ͕ƉŐƐϰϮ͕ϰϰ͕ϱϰ͕ϱϱ͕ϱϳ͕ϱϵ͕ϲϭ͕ϲϵ͕ϳϵ͕ϴϬ͕ϴϮ͕ϴϯ͕ϴϵ͕ϵϮ͕
                    
                            ϭϬϯ͕ϭϭϰ͕ϭϱϮ͕ϭϱϱ͕ϭϱϲ͕ϭϱϴ͕ϭϱϵ͕ƉĂƐƐŝŵ
                           ^ĐŽƚƚ&ĞǁŝŶƐϬϮͬϮͬϬϵĞƉĞǆĐĞƌƉƚƐWŐƐϴ͕ϵ͕ϯϭ͕ϰϮ͕ϰϰ͕ϰϱ͕ϰϲ͕ϰϳ͕ƉĂƐƐŝŵ
                            ^ƚĞǀĞƌǌĞǁŝĞĐŬŝϬϮͬϮϱͬϬϵĞƉĞǆĐĞƌƉƚƐWŐƐϭϲ͕ϰϬ͕ϰϭ͕ϱϮ͕ϱϴ͕ϱϵ͕ƉĂƐƐŝŵ
                           dƌĂǀŝƐŚĞůůŝƐĞƉϭϭͬϮϵͬϬϵĞǆĐĞƌƉƚƐƉŐƐϯϰʹϰϭ͕ϱϰ͕ϱϴ͕ϲϬͲϲϭ͕ϲϲ͕ϲϵ͕ϳϯͲϳϳ͕ϭϬϰͲϭϬϱ͕ƉĂƐƐŝŵ
                            DĐƵůŝĨĨĞƉĞǆĐĞƌƉƚƐƉŐƐϲϰ͕ϳϮ͕ϳϰ͕ϴϮͲϴϯ͕ƉĂƐƐŝŵ
                    
                            ^ƚĞǀĞƌǌĞǁŝĞĐŬŝĞƉϭϮͬϭϭͬϬϵĞǆĐĞƌƉƚƐ͕WŐƐϭϮϮͲϭϮϱ͕ϭϯϰͲϭϯϲ͕ϭϰϬ͕ϭϰϲͲϭϰϴ͕ϭϱϯ͕ϭϱϴ͕ϭϲϬͲ
                           ϭϲϯ͕ƉĂƐƐŝŵ
                            ZŽďĞƌƚ^ŝůůĞƌƐĞƉŽƐŝƚŝŽŶĞǆĐĞƌƉƚƐWŐƐϱϴͲϲϬ͕ƉĂƐƐŝŵ
                           <ŝƌŬtĂŬĞĨŝĞůĚĞƉĞǆĐĞƌƉƚƐWŐƐϯϰͲϯϳ͕ϭϮϮͲϭϮϱ͘WĂƐƐŝŵ
                            ,ĂƌŽůĚĂƌƌĞƉĞǆĐĞƌƉƚƐWŐƐϮϯ͕ƉĂƐƐŝŵ
                    
                            ǆƉĞƌƚĂŶŝĞů'ƌĂŶƚĞƉĞǆĐĞƌƉƚƐWŐƐϴϳϳͲϴϴ͕ƉĂƐƐŝŵ
                           DĂƌŬ,ĂƌƌŝƐĞƉĞǆĐĞƌƉƚƐWŐƐϲͲϭϯ͕ϭϴͲϮϭ͕ϮϲͲϮϵ͕ϰϮͲϰϲ͕ϱϭͲϱϮ͕ϱϵ͕ϴϳͲϴϵ͕ϵϭͲϵϮ͕ϭϬϰͲϭϬϱ͕ϭϮϴ͕
                            ƉĂƐƐŝŵ
                           ZŽďĞƌƚĂƌůƐŽŶĞǆĐĞƌƉƚƐWŐƐϳϴͲϴϭ͖ϵϰ͕ϵϲ͕ϵϴͲϭϬϬ͕ϭϯϴͲϭϰϭ͕ϭϱϯͲϭϱϰ͕ϮϭϬͲϮϭϯ͕ƉĂƐƐŝŵ
                    
                            ŽŶĂůĚ^ĐŚŶĞŝĚĞƌĞƉĞǆĐĞƌƉƚƐWŐϭϰ
                            
                           >^K͗
                            
                    
                            ĞĨ͘'ƌĂŶĚdƌĂǀĞƌƐĞŽƵŶƚǇĞƚĂů͘ŶƐǁĞƌƚŽŽŵƉůĂŝŶƚ
                           ĞĨ͘ƌǌĞǁĞŝĐŬŝŶƐǁĞƌƚŽŽŵƉůĂŝŶƚ
                            
                           ĞĨ͘'dŽƵŶƚǇŶƐǁĞƌƐƚŽ/ŶƚĞƌƌŽŐĂƚŽƌŝĞƐĂŶĚZĞƋƵĞƐƚƐƚŽƉƌŽĚƵĐĞĚĂƚĞĚϬϭͬϬϮͬϬϵ͖ϬϭͬϬϵͬϬϵ͖
                            ϭϬͬϭϰͬϬϵ͖ϭϭͬϬϰͬϬϵ͖ϬϯͬϭϭͬϭϬ͖ϬϯͬϮϯͬϭϬ͖ϬϯͬϮϵͬϭϬ͖ϬϰͬϬϴͬϭϬ͖ϬϮͬϭϵͬϭϬ
                    
                            
                           ĞĨ͘ƌǌĞǁŝĞĐŬŝŶƐǁĞƌƐƚŽ/ŶƚĞƌƌŽŐĂƚŽƌŝĞƐĂŶĚZĞƋƵĞƐƚƐƚŽWƌŽĚƵĐĞĚĂƚĞĚϬϱͬϭϭͬϬϵ͖ϭϭͬϬϰͬϬϵ͖
                            ϬϯͬϭϭͬϭϬ͖ϬϯͬϮϯͬϭϬ͖ϬϯͬϮϵͬϭϬ͖ϬϰͬϬϴͬϭϬ͖ϬϮͬϭϵͬϭϬ
                           
                           ĞĨƌǌĞǁŝĞĐŬŝ͛ƐZĞƐƉƚŽWů͛ƐZ&ŝůĞĚϬϰͬϮϴͬϭϬ
         
   Parsons                 ĞĨ&ĞǁŝŶƐZĞƐƉŽŶƐĞƚŽWů͛ƐZ;ĚĂƚĞĚϬϯͬϯϵͬͿ&ŝůĞĚϬϰͬϮϳͬϭϬ
LawFirm
                           
                        K:d/KE/^DdKd,h^K&WK^/d/KEdZE^Z/Wd^/E>/hK&>/sd^d/DKEz
/$:2)),&(6         hE>^^d,ZYh/^/d&KhEd/E/^>/͘


                    
                            
)D[

                            K:d/KE/^DdKd,t,K>^>h^K&W>/E'^^d^d/DEdZzy,//d^
                    
68QLRQ6WUHHW   hE>^^d,ZYh/^/d&KhEd/KE/^>/͘
32%R[
7UDYHUVH&LW\0,     
              
            
                                                        

                                                                         
                    
                        Case 1:08-cv-00991-PLM ECF No. 417 filed 07/24/18 PageID.6726 Page 15 of 22



                           &ŽƌĞĨĞŶĚĂŶƚƐ&ĞǁŝŶƐ͕ŽƵŶƚǇ͗
                            
                           ŝƐĐŽǀĞƌǇĚĞƉŽƐŝƚŝŽŶƐĂƐŶĞĐĞƐƐĂƌǇĨŽƌƌĞĨƌĞƐŚŵĞŶƚŽƌŝŵƉĞĂĐŚŵĞŶƚĂƐĂůůŽǁĞĚďǇƚŚĞ&ĞĚĞƌĂů
                    
                            ZƵůĞŽĨǀŝĚĞŶĐĞ͘
                            
                           dŚĞƚƌŝĂůƚĞƐƚŝŵŽŶǇŽĨDĂƌŬKƉƉĞƌĨƌŽŵ&ϯϬϬ͕WĂŐĞ/ϰϲϵϵͲϰϳϭϰĂƐDƌ͘KƉƉĞƌŝƐĐƵƌƌĞŶƚůǇ
                            ŽƵƚŽĨƚŚĞĐŽƵŶƚƌǇƚĞĂĐŚŝŶŐŝŶŚŝŶĂĂŶĚŶŽƚƐƵďũĞĐƚƚŽƚŚĞƐĞƌǀŝĐĞŽĨƉƌŽĐĞƐƐ͘
                    
                            
                           
                                     ϲ͘    >ĞŶŐƚŚŽĨdƌŝĂů͗
                           
                            WůĂŝŶƚŝĨĨ͗
                    
                            
                           ŽƵŶƐĞůĞƐƚŝŵĂƚĞƚŚĞƚƌŝĂůǁŝůůůĂƐƚĂƉƉƌŽǆŝŵĂƚĞůǇϭϮͺĨƵůůĚĂǇƐƚŽƚĂů͕ĂůůŽĐĂƚĞĚĂƐĨŽůůŽǁƐ͗ϴ
                            ĚĂǇƐĨŽƌWůĂŝŶƚŝĨĨ͛ƐĐĂƐĞ͖ϯĚĂǇƐĨŽƌĞĨĞŶĚĂŶƚƐ&ĞǁŝŶƐ͕ŽƵŶƚǇĐĂƐĞ͘
                           
                            
                    
                            ĞĨĞŶĚĂŶƚ'ƌĂŶĚdƌĂǀĞƌƐĞŽƵŶƚǇ͕^ĐŽƚƚ&ĞǁŝŶƐ͗
                           
                            ĞĨĞŶƐĞŽƵŶƐĞůĞƐƚŝŵĂƚĞƐƚŚĞƚƌŝĂůǁŝůůůĂƐƚϱƚŽϲĚĂǇƐ͘
                           
                    
                            
                                     ϳ͘    WƌŽƐƉĞĐƚƐŽĨ^ĞƚƚůĞŵĞŶƚ͗
                           
                            ^ĞƚƚůĞŵĞŶƚĚŝƐĐƵƐƐŝŽŶƐŚĂǀĞŶŽƚďĞĞŶĨŽƌĞĐůŽƐĞĚ͘
                    
                            
                           WůĂŝŶƚŝĨĨŚĂƐŵĂĚĞĂƐĞƚƚůĞŵĞŶƚŽĨĨĞƌŽĨ΀ŽƵƌƚ͛ƐĚŝƐĐƌĞƚŝŽŶƚŽŝŶƋƵŝƌĞĂƐƚŽƚŚĞĂŵŽƵŶƚ΁ƚŚĂƚŚĂƐ
                            ŶĞǀĞƌďĞĞŶĂĐŬŶŽǁůĞĚŐĞĚŽƌƌĞƐƉŽŶĚĞĚƚŽŝŶǁƌŝƚŝŶŐ͘
                           
                            
                                                                              T1BVM-.BMPOFZ
                            %BUF+VMZ
                                                                ͺͺͺͺͺͺͺͺͺͺͺͺͺͺͺͺͺͺͺͺͺͺͺͺͺͺͺͺͺͺͺͺ
                                                                          1BVM-.BMPOFZ
                    
                                                                              6OJUFE4UBUFT%JTUSJDU+VEHF
                           
                           
         
   Parsons                 WWZKs^dK&KZD͗
LawFirm
                           
                        ͬƐͬ'ƌĂŶƚt͘WĂƌƐŽŶƐ                      ͬƐͬŚƌŝƐƚŽƉŚĞƌŽŽŬĞ
/$:2)),&(6         'ƌĂŶƚt͘WĂƌƐŽŶƐ;WϯϴϮϭϰͿ                       ŚƌŝƐƚŽƉŚĞƌŽŽŬĞ;WϯϱϬϯϰͿ


                    
                            ƚƚŽƌŶĞǇĨŽƌWůĂŝŶƚŝĨĨ                         ƚƚŽƌŶĞǇĨŽƌĞĨƐ&ĞǁŝŶƐ͕ŽƵŶƚǇ͕
)D[

                                                                                       
                    
68QLRQ6WUHHW   
32%R[
7UDYHUVH&LW\0,     
              
            
                    

                                                                           
                    
                           Case 1:08-cv-00991-PLM ECF No. 417 filed 07/24/18 PageID.6727 Page 16 of 22



                                                                         
                                                                          
                                                                         

                                                            hE/d^dd^/^dZ/dKhZd
                                                            t^dZE/^dZ/dK&D/,/'E
                                                                ^Khd,ZE/s/^/KE
                                

                                ZKZdZ>^KE͕WĞƌƐŽŶĂůZĞƉƌĞƐĞŶƚĂƚŝǀĞ
                               KĨƚŚĞƐƚĂƚĞŽĨƌĂŝŐĂƌůƐŽŶ͕
                                
                                             WůĂŝŶƚŝĨĨ͕
                                

                                ǀ                                            &ŝůĞEŽ͘ϭ͗ϬϴͲsͲϵϵϭ
                                                                            ,ŽŶ͘WĂƵů>͘DĂůŽŶĞǇ
                                ^,Z/&&^Kdd&t/E^͕ŝŶĚŝǀŝĚƵĂůůǇĂŶĚ
                               KĨĨŝĐŝĂůůǇ͕ĂŶĚ'ZEdZsZ^KhEdz͖
                                

                                              ĞĨĞŶĚĂŶƚƐ͘
                               ͺͺͺͺͺͺͺͺͺͺͺͺͺͺͺͺͺͺͺͺͺͺͺͺͺͺͺͺͺͺͺͺͺͺͺͺͺ
                                
                               'ƌĂŶƚt͘WĂƌƐŽŶƐ ;WϯϴϮϭϰͿ                      ŚƌŝƐƚŽƉŚĞƌ<͘ŽŽŬĞ;WϯϱϬϯϰͿ

                                <ĂƚŚƌǇŶD͘tĂůŬĞƌ ;WϳϱϬϳϱͿ                      EĞƵŵĂŶŶ>Ăǁ'ƌŽƵƉ
                                ƚƚŽƌŶĞǇƐĨŽƌWůĂŝŶƚŝĨĨ                        ƚƚŽƌŶĞǇĨŽƌĞĨĞŶĚĂŶƚƐ
                               ϱϮϬ^hŶŝŽŶ͕WKŽǆϭϳϭϬ                        ϯϬϬ&ƌŽŶƚ^ƚƌĞĞƚ͕^ƵŝƚĞϰϲϬ
                                dƌĂǀĞƌƐĞŝƚǇD/ϰϵϲϴϱͲϭϳϭϬ              dƌĂǀĞƌƐĞŝƚǇ͕D/ϰϵϲϴϰ

                                ;ϮϯϭͿϵϮϵͲϯϭϭϯ                                 ;ϮϯϭͿϮϮϭͲϬϬϱϮ
                                                                            
                                ͺͺͺͺͺͺͺͺͺͺͺͺͺͺͺͺͺͺͺͺͺͺͺͺͺͺͺͺͺͺͺͺͺͺͺͺͺ
                               
                                

                                                             W>/Ed/&&͛^^hWW>DEd>y,//d>/^d
                                                                                
                                EKtKD^W>/Ed/&&͕ĂŶĚƉĞƌƚŚŝƐŽƵƌƚ͛ƐŵĞŶĚĞĚ^ĐŚĞĚƵůŝŶŐKƌĚĞƌ͕ƐƵƉƉůĞŵĞŶƚƐŚŝƐ
                               
                                ĞǆŚŝďŝƚƐĂƐĨŽůůŽǁƐ͗;ĚĚŝƚŝŽŶŝŶŽůĚͿ

                 
        Parsons
      LawFirm
    
    /$:2)),&(6

    
   )D[
    
    68QLRQ6WUHHW
   32%R[
    7UDYHUVH&LW\0,
                
               
                 




                        Case 1:08-cv-00991-PLM ECF No. 417 filed 07/24/18 PageID.6728 Page 17 of 22



                                       W                                ^Z/Wd/KEK&y,//d
                                       y,//d
                                        EK
                              ϭ                                         ĨĨŝĚĂǀŝƚŽĨDŝĐŚĂĞůtĂůƚŽŶ
                               Ϯ                               ĂƌůƐŽŶDƵŶƐŽŶŝƐĐŚĂƌŐĞ^ƵŵŵĂƌǇϬϴͬϮϬͬϬϳ
                              ϯ                                                    ĞůĞƚĞĚ
                               ϰ                                tĞůĨĂƌĞŚĞĐŬZĞƉŽƌƚϭϭͬϬϰͬϬϳďǇ,ĂŵŝůƚŽŶ
                    
                               ϱ                              ĞŶƚƌĂůŝƐƉĂƚĐŚdƌĂŶƐĐƌŝƉƚĂŶĚƵĚŝŽŽĨ/ŶĐŝĚĞŶƚ
                              ϲ                                        ĞƚĂŝůĂůůĨŽƌ^ĞƌǀŝĐĞZĞƉŽƌƚƐ
                               ϳ                      :ĂƐŽŶ,ĂŵŝůƚŽŶĞƉǆŚϭ;WƌŝŽƌŝŶĐŝĚĞŶƚƌĞƉŽƌƚĂŶĚďƵůůĞƚŝŶͿ
                    
                               ϴ                                                    ĞůĞƚĞĚ
                              ϵ                                         &ĞǁŝŶƐŶƐǁĞƌƚŽŽŵƉůĂŝŶƚ
                              ϭϬ                                      ƌǌĞǁŝĞĐŬŝŶƐǁĞƌƚŽŽŵƉůĂŝŶƚ
                             ϭϭ                            &ĞǁŝŶƐWŽůŝĐǇʹĂƌƌŝĐĂĚĞĚ^ƵďũĞĐƚͬ,ŽƐƚĂŐĞdĂŬĞƌƐ
                    
                              ϭϮ                                            ,ŽƵƐĞĂŵĂŐĞWŚŽƚŽƐ
                              ϭϯ                                         DK>^tĂƌƌĂŶƚ^ƚĂŶĚĂƌĚƐ
                             ϭϰ                                        EDDDd&tĂƌƌĂŶƚ^ƚĂŶĚĂƌĚƐ
                              ϭϱ                                        ^ƵŶͬDŽŽŶĂƚĂĨŽƌϭϭͬϬϭͬϬϳ
                    
                             ϭϲĂͲ                ^Őƚ͘,ĂƌƌŝƐ͕DŝĐŚŝŐĂŶ^ƚĂƚĞWŽůŝĐĞ/ŶǀĞƐƚŝŐĂƚŝŽŶZĞƉŽƌƚƐĂŶĚ
                            ϭϲǌǌ                               ^ƵƉƉůĞŵĞŶƚƐŽĨ/ŶĐŝĚĞŶƚϬϳϭͲϬϬϬϮϵϳϵͲ;Ϳ͕WŚŽƚŽƐĂŶĚ
                                                                         /ŶƚĞƌǀŝĞǁƐ͕ŝĂŐƌĂŵƐ͕ƌĂǁŝŶŐƐ
                             ϭϳ                                  :ĂĐŬŝĞ^ŵŝƚŚϵͲϭͲϭĐĂůůƐƚƌĂŶƐĐƌŝƉƚͬĂƵĚŝŽ
                    
                             ϭϴĂ͕                                 ƌĂŝŐĂƌůƐŽŶϵͲϭͲϭĐĂůůƐƚƌĂŶƐĐƌŝƉƚͬĂƵĚŝŽ
                             ď͕Đ
                             ϭϵ                              ZŽďĞƌƚĂƌůƐŽŶϵͲϭͲϭĐĂůůƐƚƌĂŶƐĐƌŝƉƚͬĂƵĚŝŽ
                              ϮϬ                                    ƌŶĞƐƚƵƌǁĞůů͛ƐsĂŶĚZĞƉŽƌƚ
                    
                              Ϯϭ                         ŶŶŚĂŵďĞƌůĂŝŶǆƉĞƌƚZĞƉŽƌƚ͕WŚŽƚŽƐĂŶĚŝĂŐƌĂŵƐ
                             ϮϮ                                    ƌ͘ĂŶŝĞůDĐŽǇǆƉĞƌƚZĞƉŽƌƚ
                              Ϯϯ                                   ƌ͘'ĞƌĂůĚ^ŚŝĞŶĞƌǆƉĞƌƚZĞƉŽƌƚ
                             Ϯϰ                           E͘D/DƵƚƵĂůŝĚZĞĐŝƉƌŽĐĂů>ĂǁŶĨŐƌĞĞŵĞŶƚ
                             Ϯϱ                                           hƐĞŽĨ&ŽƌĐĞWŽůŝĐǇ
                              Ϯϲ                                ƌǌĞǁŝĞĐŬŝ/ŶƚĞƌǀŝĞǁĨƌŽŵD^WZĞƉŽƌƚ
                             Ϯϳ                           ĨƚĞƌĐƚŝŽŶZĞƉŽƌƚďǇ^Őƚ͘ƌǌĞǁŝĞĐŬŝͬdŝŵĞ>ŝŶĞ
                             Ϯϴ                                     ƌŝƚŝĐĂů/ŶĐŝĚĞŶƚZĞƉŽƌƚWŽůŝĐǇ
         
   Parsons                   Ϯϵ                                   ,ŝŐŚZŝƐŬtĂƌƌĂŶƚWŽůŝĐǇŽĨ'd^
LawFirm
                             ϯϬ                                                  ĞůĞƚĞĚ
                          ϯϭ                                        DĐƵůŝĨĨ^ĐĞŶĞŝĂŐƌĂŵ
/$:2)),&(6  

                              ϯϮ                                        ,ŝůůďŽƌŶ^ĐĞŶĞŝĂŐƌĂŵ

                             ϯϯ                                  ^ŐƚǇůŝŶŐ/ŶĐŝĚĞŶƚEŽƚĞƐͬdŝŵĞ>ŝŶĞ
)D[
                             ϯϰ                                       ĂƌůƐŽŶ,ŽƵƐĞZĞƉĂŝƌŝůůƐ
                    
68QLRQ6WUHHW
                              ϯϱ                               ĞĨ&ĞǁŝŶƐZĞƐƉƚŽŝƐĐĚĂƚĞĚϬϭͬϬϮͬϬϵ
32%R[
7UDYHUVH&LW\0,       ϯϲ                    ůůD^WWŚŽƚŽƐŽĨ/ŶƚĞƌŝŽƌŽĨ,ŽŵĞ;ĚĞůĞƚĞĚĞĂƚŚƉŚŽƚŽŐƌĂƉŚƐͿ
         
                            ϯϳ                                                  ĞůĞƚĞĚ
                             ϯϴ                               'ĂƌǇsĂŶŶ͕^t͕ůĞƚƚĞƌĚĂƚĞĚϭϭͬϭϱͬϬϳ
                                                                              
                    
                        Case 1:08-cv-00991-PLM ECF No. 417 filed 07/24/18 PageID.6729 Page 18 of 22



                               ϯϵ                    &ĂŵŝůǇWŚŽƚŽƐŽĨĞĐĞĚĞŶƚWƌŽĚƵĐĞĚĂƚĞƉŽƐŝƚŝŽŶ
                                ϰϬ                               WŽƐƚĞƌĞƉǆŚϭʹƌǌǁŝĞĐŬŝ
                    
                                ϰϭ                                   dƌĂǀŝƐŚĞůůŝƐŝĂŐƌĂŵƐ
                               ϰϮ                                dŽǆŝĐŽůŽŐǇZĞƉŽƌƚƐDƵŶƐŽŶ
                                ϰϯ                       &K/ZĞƐƉŽŶƐĞƚŽWůĂŝŶƚŝĨĨϬϱͬϬϮͬϬϴĨƌŽŵdW
                               ϰϰ                                           ĞůĞƚĞĚ
                    
                                ϰϱ                   ϬϱͬϬϮͬϬϴ&K/ƌĞƐƉŽŶƐĞĨƌŽŵĂƉƚ^ƚĞƉŚĞŶDŽƌŐĂŶ
                                ϰϲ                     :ƵŶĞϮϴ͕ϮϬϬϲDƵƚƵĂůŝĚZĞĐ>ĂǁŶĨŐƌĞĞŵĞŶƚ
                               ϰϳ                                   ,ĂƌŽůĚĂƌƌĞƉ͘ǆŚϭ
                                ϰϴ                        ƌǌĞǁŝĞĐŬŝĞƉǆŚϮ;ĂŝůǇĐƚŝǀŝƚǇZĞƉŽƌƚͿ
                    
                                ϰϵ                        ƌǌĞǁŝĞĐŬŝĞƉǆŚϯ;ĂŝůǇĐƚŝǀŝƚǇZĞƉŽƌƚͿ
                               ϱϬ                         ƌǌĞǁŝĞĐŬŝĞƉǆŚϰ;ĨƚĞƌĐƚŝŽŶZĞƉŽƌƚͿ
                                ϱϭ                   ƌǌĞǁŝĞĐŬŝĞƉ;^ĞĐŽŶĚͿǆŚϮ;ĨƚĞƌĐƚŝŽŶZĞƉŽƌƚͿ
                               ϱϮ                  ƌǌĞǁŝĞĐŬŝĞƉ;^ĞĐŽŶĚͿǆŚϯ;ϭϭͬϭϬͬϬϳ^ƚĂƚĞŵĞŶƚͿ
                               ϱϯ                                  ƌǌĞǁŝĞĐŬŝǆŚϱ;EŽƚĞƐͿ
                                ϱϰ                      &ĞǁŝŶƐĞƉ;ϮͬϮϱͬϬϵͿǆŚϮ;DƵƚƵĂůŐƌĞĞŵĞŶƚͿ
                               ϱϱ                         &ĞǁŝŶƐĞƉ;ϮͬϮϱͬϬϵͿǆŚϯ;ZdWŽůŝĐŝĞƐͿ
                                ϱϲ         &ĞǁŝŶƐĞƉ;ϭϮͬϭϱͬϬϵͿǆŚϭ;ĞƚĂŝůĂůůĨŽƌ^ĞƌǀŝĐĞͿ
                    
                                ϱϳ         &ĞǁŝŶƐĞƉ;ϭϮͬϭϱͬϬϵͿǆŚϰ;^ŚĞƌŝĨĨĚĞƉƚ͘WŽůŝĐŝĞƐĨŽƌZdͿ
                               ϱϴ                                           ĞůĞƚĞĚ
                                ϱϵ                                           ĞůĞƚĞĚ
                    
                                ϲϬ         &ĞǁŝŶƐĞƉ;ϭϮͬϭϱͬϬϵͿǆŚϳ;ZddĞĂŵƉŽůŝĐǇͿ
                               ϲϭ         &ĞǁŝŶƐĞƉ;ϭϮͬϭϱͬϬϵͿǆŚϴ;ZdĂƌƌŝĐĂĚĞĚ^ƵďũĞĐƚƉŽůŝĐǇͿ
                                ϲϮ         &ĞǁŝŶƐĞƉ;ϭϮͬϭϱͬϬϵͿǆŚϵ;hƐĞĂŶĚƐƐŝŐŶŵĞŶƚŽĨƚŚĞZdƉŽůŝĐǇͿ
                               ϲϯ                                 :ĂƐŽŶ,ĂŵŝůƚŽŶĞƉǆŚϯ
                    
                                ϲϰ                                 :ĂƐŽŶ,ĂŵŝůƚŽŶĞƉǆŚϰ
                                ϲϱ                                           ĞůĞƚĞĚ
                               ϲϲ                                           ĞůĞƚĞĚ
                                ϲϳ                                           ĞůĞƚĞĚ
                    
                                ϲϴ                                     ,ŝůůďŽƌŶĞƉǆŚϭ
                               ϲϵ                               ,ŝůůďŽƌŶǆŚϳ;WŚŽƚŽŽĨD^WͿ
                                ϳϬ                         ĞƉƵƚǇ^ŝůůĞƌƐĞƉǆŚϭ;/ŶĐŝĚĞŶƚZĞƉŽƌƚͿ
                               ϳϭ                 ŚŝĞĨDŝĐŚĂĞůtĂƌƌĞŶ͕dWĞƉǆŚϯ;ZdŐƌĞĞŵĞŶƚͿ
             
                               ϳϮ                       hŶĚĞƌƐŚĞƌŝĨĨůŐĞƌĞƉǆŚϭ;/ŶĐŝĚĞŶƚƌĞƉŽƌƚƐͿ
   Parsons                     ϳϯ                    hŶĚĞƌƐŚĞƌŝĨĨůŐĞƌĞƉǆŚϰ;ϵϭϭĐĂůůƚƌĂŶƐĐƌŝƉƚƐͿ
LawFirm
                               ϳϰ                               hŶĚĞƌƐŚĞƌŝĨĨůŐĞƌĞƉǆŚϳ
                            ϳϱ                               hŶĚĞƌƐŚĞƌŝĨĨůŐĞƌĞƉǆŚϭϰ
/$:2)),&(6  
                               ϳϲ                                       &ĂŵŝůǇWŚŽƚŽƐ
            ϳϳ                                      ŚĂƌƚĞƌĂůů>ŽŐƐ
                    
)D[
                           
                    
68QLRQ6WUHHW
                            
32%R[
7UDYHUVH&LW\0,     
         
                          
                           
                                                                    
                    
                        Case 1:08-cv-00991-PLM ECF No. 417 filed 07/24/18 PageID.6730 Page 19 of 22



                           
                            ĂƚĞĚ͗:ƵůǇϮϬ͕ϮϬϭϴ            Ɛͬ'ƌĂŶƚt͘WĂƌƐŽŶƐ
                                                          WĂƌƐŽŶƐ>Ăǁ&ŝƌŵW>
                    
                                                           ƚƚŽƌŶĞǇĨŽƌWůĂŝŶƚŝĨĨ
                                                           ϱϮϬ^͘hŶŝŽŶ͕W͘K͘ŽǆϭϳϭϬ
                                                          dƌĂǀĞƌƐĞŝƚǇD/ϰϵϲϴϱͲϭϳϭϬ
                                                           ;ϮϯϭͿϵϮϵͲϯϭϭϯ
                    
                                                           ŝŶĨŽΛƉĂƌƐŽŶƐůĂǁĨŝƌŵ͘ŶĞƚ
                                                          WϯϴϮϭϰ
                            
                    

                    

                    

                    

                    

                    

                    

                    

                    

                    

                    

                    

                    

                    

                    
             
         
   Parsons
LawFirm
         

/$:2)),&(6  


                    
)D[

                    
68QLRQ6WUHHW
32%R[
7UDYHUVH&LW\0,
         
            
                    

                                                                  
                    
 Case 1:08-cv-00991-PLM ECF No. 417 filed 07/24/18 PageID.6731 Page 20 of 22




                     ȕŗÝǻr^ǢǻǻrǢ^ÝǢǻǊÝNǻNŷȕǊǻ
                 ®ŷǊǻËrɟrǢǻrǊŗ^ÝǢǻǊÝNǻŷ®ōÝNËÝµŗ
                          ǢŷȕǻËrǊŗ^ÝəÝǢÝŷŗ
                             ˎˎˎˎˎˎˎˎˎˎˎˎˎˎˎˎˎˎˎˎˎ

ǊŷDrǊǻNǊĵǢŷŗʰƻsǋǣŸŘĶ
ǊsƼǋsǣsŘǼǼÞɚsŸ¯ǼÌsrǢǻǻrŷ®
NǊÝµNǊĵǢŷŗʰ

                    ƻĶÞŘǼÞ¯¯ʰ
                                           Ëŷŗʳƻȕĵōĵŷŗrɳʳ
                                           NËÝr®ȕʳǢʳ^ÝǢǻǊÝNǻNŷȕǊǻğȕ^µr
ɚ                                                
                                           ®Ýĵrŗŷʳˠʲ˟˧˚Nə˚˨˨ˠ
µǊŗ^ǻǊərǊǢrNŷȕŗǻɳʰ

                    ^s¯sŘ_ŘǼʰ
̬̬̬̬̬̬̬̬̬̬̬̬̬̬̬̬̬̬̬̬̬̬̬̬̬̬̬̬̬̬̬̬̬̬̬̬                        ̬̬̬̬̬̬̬̬̬̬̬̬̬̬̬̬̬̬̬̬̬̬̬̬̬ˀ
µǋŘǼƻǋǣŸŘǣʹƻˢ˧ˡˠˣʺ                        NÌǋÞǣǼŸƼÌsǋħʳNŸŸĨsʹƻˢˤ˟ˢˣʺ
ƻǊǢŷŗǢĵɟ®ÝǊōƻĵN                ŗrȕōŗŗĵɟµǊŷȕƻ
ǼǼŸǋŘsɴ¯ŸǋƻĶÞŘǼÞ¯¯                       ǼǼŸǋŘsɴ¯Ÿǋ^s¯sŘ_ŘǼNŸȖŘǼɴ
ˤˡ˟ǢʳȕŘÞŸŘǢǼǋssǼƻʳŷʳDŸɮˠ˦ˠ˟              ˢ˟˟®ǋŸŘǼǢǼǋssǼʰǢǼsˣˣˤ
ǻǋɚsǋǣsNÞǼɴʰōÝˣ˨˥˧ˤ˚ˠ˦ˠ˟                  ǻǋɚsǋǣsNÞǼɴʰōÝˣ˨˥˧ˣ
ʹˡˢˠʺ˨ˡ˨˚ˢˠˠˢ                               ʹˡˢˠʺˡˡˠ˚˟˟ˤ˟
̬̬̬̬̬̬̬̬̬̬̬̬̬̬̬̬̬̬̬̬̬̬̬̬̬̬̬̬̬̬̬̬̬̬̬̬                        ̬̬̬̬̬̬̬̬̬̬̬̬̬̬̬̬̬̬̬̬̬̬̬̬̬ˀ

  ^r®rŗ^ŗǻµǊŗ^ǻǊərǊǢrNŷȕŗǻɳ˅Ǣōrŗ^r^ɟÝǻŗrǢǢŗ^rɭÝDÝǻĵÝǢǻ


'HIHQGDQWV&RXQW\3URSRVHG([KLELWV>XVHOHWWHUV@


   (;+,%,7                          '(6&5,37,212)(;+,%,7
     $          2YHUKHDG*RRJOH0DSVRI&DUOVRQUHVLGHQFH
     %          SKRWRJUDSKVRI&DUOVRQUHVLGHQFHIURP0633KRWRJUDSKV
     &          5HFRUGLQJ-DFNLH6PLWKFDOOV
     '          5HFRUGLQJ5REHUW&DUOVRQFDOOV
     (          5HFRUGLQJ&UDLJ&DUOVRQFDOOV
     )          %XVKPDVWHU$VVDXOW5LIOH
     *          7HFKZHDSRQ
     +          3LVWROLQUHDUSRFNHW
 Case 1:08-cv-00991-PLM ECF No. 417 filed 07/24/18 PageID.6732 Page 21 of 22



       ,        6HFRQGSLVWROLQUHDUSRFNHW
       -        7DSHGWRJHWKHUDPPXQLWLRQEDQDQDFOLSV
       .        3UHSDLGIXQHUDOGRFXPHQWVIURP5H\QROGV-RQNKRII)XQHUDO
                 +RPH
       /        1RWHE\&UDLJ&DUOVRQLGHQWLI\LQJ-DFNLH6PLWKDVFRQWDFWSHUVRQ
                 WRKDQGOHSRVWGHDWKLVVXHV
       0        +DQGZULWWHQQRWHE\&UDLJ&DUOVRQEHTXHDWKLQJSURSHUW\WRIDPLO\
                 PHPEHUV%DWHVQRV
       1        1RWHFRQWDLQLQJFRPELQDWLRQWRVDIH
       2        6SHQWFDVLQJVIURPWHDUJDVDSSOLFDWLRQ
       3        6HOHFWGRFXPHQWVIURP(UQHVW%XUZHOO(PSOR\PHQW)LOH
       4        &ULWLFDO,QFLGHQW5HVSRQVH3ROLF\*UDQG7UDYHUVH&RXQW\
                 6KHULII¶V2IILFH-XQH
       5        1RUWKHUQ0LFKLJDQ0XWXDO$LG³%DUULFDGHG6XEMHFW+RVWDJH
                 7DNHUV3ROLF\
       6        (;(03/$57+52:3+21(
       7        (;(03/$5$5'(021675$7,9(21/<







)RU'HIHQGDQWV)HZLQV&RXQW\

$-XVWLQ5HYQHOOFR'HIHQVHFRXQVHOZLOOEHFDOOHG

%0DUW\0F0DQXVFR'HIHQVHFRXQVHOZLOOEHFDOOHG

&0LNH2SSHUE\UHDGLQJKLVWHVWLPRQ\IURPWKHILUVWWULDO0U2SSHULVQRZDWHDFKHU
LQ&KLQDZLOOEHFDOOHG

'%RE6LOOHUVOLYHRUE\UHDGLQJKLVWHVWLPRQ\IURPWKHILUVWWULDOFR'HIHQVHFRXQVHO

(6FRWW)HZLQVFRGHIHQVHFRXQVHOZLOOEHFDOOHG

+6WHYH'U]HZLHFNLFR*UHWFKHQ2OVHQ3OXQNHWW&RRQH\ZLOOEHFDOOHG

,*UHJ0F0DQHP\*UDQG7UDYHUVH&RXQW\6KHULII¶V'HSDUWPHQWZLOOEHFDOOHG

-0LFKDHO$\OLQJFRGHIHQVHFRXQVHOZLOOEHFDOOHG

.$O6FKQHLGHU:LOOLDPVEXUJ0,PD\EHFDOOHG

/1DWH$OJHU*UDQG7UDYHUVH&RXQW\PD\EHFDOOHG
 Case 1:08-cv-00991-PLM ECF No. 417 filed 07/24/18 PageID.6733 Page 22 of 22




0-RVHSK'XSXLH.DONDVND&RXQW\6KHULII¶V'HSDUWPHQW1%LUFK6WUHHW.DONDVND
0,PD\EHFDOOHG

13DW$QGUHVVHQGLVSDWFKHU*UDQG7UDYHUVH&RXQW\FR'HIHQVHFRXQVHOZLOOEH
FDOOHG

2-LP'DQHN*UDQG7UDYHUVH&RXQW\FR'HIHQVHFRXQVHOZLOOEHFDOOHG

35DQG\)HZOHVV*UDQG7UDYHUVH&RXQW\FRGHIHQVHFRXQVHOPD\EHFDOOHG

40DUN+DUULV0LFKLJDQ6WDWH3ROLFH7UDYHUVH&LW\0,PD\EHFDOOHG

5-(5(0<0&$8/,))(

65<$1),167520

1RWHDOOWKHVHZLWQHVVHVWHVWLILHGLQWKHILUVWWULDORWKHUWKDQZLWQHVVHV.DQG/
DQGUHIHUHQFHLWPDGHWRWKDWUHFRUGDVWRWKHLUH[SHFWHGWHVWLPRQ\:LWQHVV.$O
6FKQHLGHU PD\ WHVWLI\ DV WR KLV UHFROOHFWLRQ RI GLVFXVVLRQV KH KDG ZLWK 6KHULII
)HZLQVRQWKHQLJKWRIWKHLQFLGHQW:LWQHVV/PD\WHVWLI\UHJDUGLQJKLVGXWLHVDQG
REVHUYDWLRQVDWWKHVFHQHDQGGLVFXVVLRQVRYHUKHDUGEHWZHHQ$O6FKQHLGHUDQG
6KHULII)HZLQV

